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                                                          EXHIBIT A
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 9
10
11                   THE UNITED STATES DISTRICT COURT
12               FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
14   ROBERT ROSS,                          Case No. 4:19-cv-6669
15              Plaintiff,                 FIRST AMENDED COMPLAINT
16        v.
17   AT&T MOBILITY, LLC, ONE               DEMAND FOR JURY TRIAL
18   TOUCH DIRECT, LLC, and ONE
     TOUCH DIRECT- SAN ANTONIO,
19   LLC,

20              Defendants.
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                             FIRST AMENDED COMPLAINT
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 1   I.     NATURE OF THE ACTION
 2          1.    This action arises out of AT&T’s failure to protect the sensitive and
 3   confidential account data of its mobile service subscriber, Robert Ross, resulting in
 4   massive violations of Mr. Ross’s privacy, the compromise of his highly sensitive
 5   personal and financial information, and the theft of more than $1 million.
 6          2.    AT&T is the country’s largest mobile service provider. Tens of
 7   millions of subscribers entrust AT&T with access to their confidential information,
 8   including information that can serve as a key to unlock subscribers’ highly
 9   sensitive personal and financial information.
10          3.    Recognizing the harms that arise when mobile subscribers’ personal
11   information is accessed, disclosed, or used without their consent, federal and state
12   laws require AT&T to protect this sensitive information.
13          4.    AT&T also recognizes the sensitivity of this data and promises its 150
14   million mobile subscribers that it will safeguard their private information – and
15   particularly their data-rich SIM cards – from any unauthorized disclosure. AT&T
16   promises it “will protect [customers’] privacy and keep [their] personal
17   information safe” and that it “will not sell [customers’] personal information to
18   anyone, for any purpose. Period.” AT&T repeatedly broke these promises.
19          5.    In an egregious violation of the law and its own promises, and despite
20   advertising itself as a leader in technological development and as a cyber security-
21   savvy company, AT&T breached its duty and promise to Mr. Ross to protect his
22   account and the sensitive data it contained. AT&T failed to implement sufficient
23   data security systems and procedures, instead allowing third parties to gain
24   unauthorized access to Mr. Ross’s AT&T account in order to steal from him.
25          6.    AT&T’s actions and conduct were a critical factor in causing
26   significant financial and emotional harm to Mr. Ross and his family. But for AT&T
27   employees’, representatives’ and agents’ unauthorized access to Mr. Ross’ account,
28   and failure to protect Mr. Ross through adequate security and oversight systems
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 1   and procedures, Mr. Ross would not have had his personal privacy repeatedly
 2   violated and would not have been a victim of SIM swap theft.
 3           7.    Mr. Ross brings this action to hold AT&T accountable for its
 4   violations of federal and state law, and to recover for the grave financial and
 5   personal harm suffered by Mr. Ross and his family as a direct result of AT&T’s acts
 6   and omissions, as detailed herein.
 7   II.     THE PARTIES
 8           8.    Plaintiff Robert Ross is, and at all relevant times was, a resident of
 9   California. Mr. Ross currently resides in San Francisco, California.
10           9.    Mr. Ross was an AT&T mobile customer at all times relevant to this
11   Complaint. He purchased a mobile phone plan from AT&T in San Francisco,
12   California in 2007 for personal use, was an active, paying AT&T mobile subscriber
13   at all times relevant to the allegations in this Complaint, and his business
14   relationship was directly with AT&T at all relevant times.
15           10.   Defendant AT&T Mobility, LLC (hereinafter, “AT&T”) is a Delaware
16   limited liability corporation with its principal office or place of business in
17   Brookhaven, Georgia. AT&T “provides nationwide wireless services to consumers
18   and wholesale and resale wireless subscribers located in the United States or U.S.
19   territories” and transacts or has transacted business in this District and throughout
20   the United States. It is the second largest wireless carrier in the United States, with
21   more than 153 million subscribers, earning $71 billion in total operating revenues
22   in 2017 and $71 billion in 2018. As of December 2017, AT&T had 1,470 retail
23   locations in California.1
24           11.   AT&T provides wireless service to subscribers in the United States.
25   AT&T is a “common carrier” governed by the Federal Communications Act
26   (“FCA”), 47 U.S.C. § 151 et seq. AT&T is regulated by the Federal
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       “About Us,” AT&T, available at https://engage.att.com/california/about-us/. This URL was
28   last accessed on October 15, 2019.
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 1   Communications Commission (“FCC”) for its acts and practices, including those
 2   occurring in this District.
 3             12.   AT&T Inc., AT&T’s parent company, acknowledged in its 2018
 4   Annual Report that its “profits and cash flow are largely driven by [its] Mobility
 5   business” and “nearly half of [the] company’s EBITDA (earnings before interest,
 6   taxes, depreciation and amortization) come from Mobility.”2
 7             13.   Defendant One Touch Direct, LLC (“One-Touch Direct”) is a Florida
 8   Corporation with its principal place of business in Tampa, Florida. Plaintiff is
 9   informed and believes and thereon alleges that AT&T contracted with One-Touch
10   Direct to provide call center services for AT&T’s mobile phone customers.
11             14.   Defendant One Touch Direct - San Antonio, LLC (“One-Touch
12   Direct-SA”) is a Florida Corporation with its principal place of business in Tampa,
13   Florida. Plaintiff is informed and believes and thereon alleges that One-Touch
14   Direct-SA is a subsidiary of One Touch Direct - SA and the employer of the
15   customer service representative(s) who executed the remote SIM swap on
16   Plaintiff’s mobile phone.
17             15.   At all relevant times, One Touch Direct and One Touch Direct-SA
18   were AT&T’s authorized representatives and agents and performed services for
19   AT&T which were within the usual course of AT&T’s business.
20             16.   At all relevant times, AT&T dictated and controlled the manner and
21   means by which One Touch Direct and One Touch Direct-SA performed their
22   services for AT&T. On information and belief, AT&T entered into a master
23   services agreement with One Touch Direct which governed the terms and condition
24   of AT&T’s relationship with One Touch Direct and its subsidiaries such as One
25   Touch Direct-SA, and which required the One Touch entities to strictly adhere to
26   AT&T’s guidelines, protocols, policies, and procedures relating to customer
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         Id.
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 1   service, including those relating to SIM swaps. Furthermore, AT&T controlled the
 2   security measures it implemented across its entire network operation (including its
 3   own call centers and third-party call centers), as well as the data accumulated
 4   across the entire network, to monitor, detect and prevent unauthorized SIM swaps.
 5          17.   At all relevant times, One Touch Direct and One Touch Direct-SA
 6   employees identified themselves to Mr. Ross as “AT&T” rather than One Touch
 7   Direct (at AT&T’s direction), had full access to and use of the AT&T customer
 8   database which enabled them to perform customer service functions (including
 9   SIM swaps), did not disclose that they were employed by One Touch Direct, and
10   were in essence de facto employees of AT&T.
11   III.   JURISDICTION AND VENUE
12          18.   This Court has jurisdiction over this matter under 28 U.S.C. § 1331
13   because this case arises under federal question jurisdiction under the Federal
14   Communications Act (“FCA”). The Court has supplemental jurisdiction under 28
15   U.S.C. § 1367 over the state law claims because the claims are derived from a
16   common nucleus of operative facts. The Court also has jurisdiction over this
17   action pursuant to 28 U.S.C. § 1332 because Mr. Ross is a citizen of a different
18   state than AT&T, One Touch Direct, and One Touch Direct-SA.
19          19.   This Court has personal jurisdiction over AT&T and its contractors
20   One Touch Direct and One Touch Direct-SA because AT&T purposefully directs its
21   conduct at California, transacts substantial business in California (including in this
22   District), has substantial aggregate contacts with California (including in this
23   District), engaged and is engaging in conduct that has and had a direct, substantial,
24   reasonably foreseeable, and intended effect of causing injury to persons in
25   California (including in this District), and purposely avails itself of the laws of
26   California. AT&T had more than 33,000 employees in California as of 2017, and
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 1   1,470 retail locations in the state.3 Mr. Ross purchased his AT&T mobile plan in
 2   California, visited AT&T retail locations in California, and was injured in
 3   California by the acts and omissions alleged herein.
 4            20.    In accordance with 28 U.S.C. § 1391, venue is proper in this District
 5   because a substantial part of the conduct giving rise to Mr. Ross’ claims occurred
 6   in this District and Defendant transacts business in this District. Mr. Ross
 7   purchased his AT&T mobile plan in this District and was harmed in this District,
 8   where he resides, by the acts and omissions of Defendants, as detailed herein.
 9   IV.      ALLEGATIONS APPLICABLE TO ALL COUNTS
10            21.    As a telecommunications carrier, AT&T is entrusted with the sensitive
11   mobile account information and personal data of millions of Americans, including
12   Mr. Ross’ confidential and sensitive personal and account information. AT&T’s
13   duties to safeguard customer information are non-delegable to any other entity,
14   including its third-party call center service providers such as the One Touch Direct
15   entities.
16            22.    Despite its representations to its customers and its obligations under
17   the law, AT&T has failed to protect Mr. Ross’ confidential information. In October
18   2018, AT&T employees, representatives and agents obtained unauthorized access
19   to Mr. Ross’ AT&T mobile account, viewed his confidential and proprietary
20   personal information, and transferred control over Mr. Ross’ AT&T mobile
21   number and service from Mr. Ross’ phone to a phone controlled by third-party
22   hackers. The hackers then immediately utilized their control over Mr. Ross’
23   AT&T mobile number—control secured with necessary and direct assistance from
24   AT&T employees, representatives and agents —to access and take control of his
25   personal and digital finance accounts and steal $1 million from Mr. Ross.
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         “About Us,” AT&T California, supra at 1.
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 1         23.    This type of telecommunications account hacking behavior is known
 2   as “SIM swapping.”
 3         A.     SIM Swapping is a Type of Identity Theft Involving the Transfer
 4                of a Mobile Phone Number

 5         24.    Mr. Ross was the victim of an unauthorized “SIM swap” on October
 6   26, 2018.
 7         25.    A “SIM swap” is a relatively simple scheme, wherein a hacker gains
 8   control of a victim’s mobile phone number and service in order to intercept
 9   communications, including text messages, intended for the victim. The hackers
10   then use that phone number as a key to access and take over the victim’s digital
11   accounts, such as email, file storage, and financial accounts.
12         26.    Most mobile phones, including the iPhone owned by Mr. Ross at the
13   time of his SIM swap, have an internal SIM (“subscriber identity module”) card. A
14   SIM card is a small, removable chip that allows a mobile phone to communicate
15   with the mobile carrier’s network and the carrier to know what subscriber account
16   is associated with that mobile phone. The connection between the mobile phone
17   and the SIM card is made through the carrier, which associates each SIM card with
18   the physical phone’s IMEI (“international mobile equipment identity”), which is
19   akin to the mobile phone’s serial number. Without an activated SIM card and
20   effective SIM connection, a mobile phone typically cannot send or receive calls or
21   text messages over the carrier network. SIM cards can also store a limited amount
22   of account data, including contacts, text messages, and carrier information, and that
23   data can help identify the subscriber.
24         27.    The SIM card associated with a mobile phone can be changed. If a
25   carrier customer buys a new phone that requires a different sized SIM card, for
26   example, the customer can associate his or her account with a new SIM card and
27   the new phone’s IMEI by working with their mobile carrier to effectuate the
28   change. This allows carrier customers to move their mobile number from one
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 1   mobile phone to another and to continue accessing the carrier network when they
 2   switch mobile phones. For a SIM card change to be effective, the carrier is
 3   required by law to authenticate that the change request is legitimate and actualize
 4   the change. AT&T allows its employees, representatives and agents to conduct
 5   SIM card changes for its customers remotely or in its retail stores, and does so
 6   numerous times daily with inadequate protections against unauthorized SIM
 7   swaps.
 8          28.    An unauthorized SIM swap refers to an illegitimate SIM card change.
 9   During a SIM swap attack, a carrier representative switches the SIM card number
10   associated with the victim’s mobile account from the victim’s phone to a phone
11   controlled by a hacker. This literally re-routes the victim’s mobile phone service
12   — including any incoming data, texts, and phone calls associated with the victim’s
13   phone — from the victim’s physical phone to a physical phone controlled by the
14   hacker. The hacker’s phone then becomes the phone associated with the victim’s
15   carrier account, and the hacker receives all of the text messages and phone calls
16   intended for the victim.4 Simultaneously, the victim’s mobile phone loses its
17   ability to connect to the carrier network and displays “No Service”.
18          29.    Once hackers are given control over the victim’s phone number, they
19   can immediately use that control to access and take complete control of the
20   victim’s personal online accounts, such as email and banking accounts, through
21   exploiting password reset links and codes sent via text message to the now-hacker-
22   controlled-phone or the two-factor authentication processes associated with the
23   victim’s digital accounts. Two-factor authentication allows digital accounts to be
24
     4
25     As described by federal authorities in prosecuting SIM swap cases, SIM swapping enables
     hackers to “gain control of a victim’s mobile phone number by linking that number to a
26   subscriber identity module (‘SIM’) card controlled by [the hackers]—resulting in the victim’s
     phone calls and short message service (‘SMS’) messages being routed to a device controlled by
27   [a hacker].” United States of America v. Conor Freeman, et al., No. 2:19-cr-20246-DPH-APP
     (E.D. Mich. Filed Apr. 18, 2019) (hereafter, “Freeman Indictment”) (attached hereto as Exhibit
28   A), ECF. No. 1 at ¶ 3.
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 1   accessed without a password or allows the account password to be changed. One
 2   common form of two-factor authentication enabled, allowed, and used by AT&T
 3   itself is through text messaging. Rather than enter a password, the hacker requests
 4   that a password reset link or code be sent to the mobile phone number associated
 5   with the victim’s online account which AT&T makes possible. Because the hacker
 6   now controls the victim’s phone number, the reset code is sent to the hacker. The
 7   hacker can then log into, and change the password for, the victim’s account,
 8   allowing the hacker to access and take complete control of the contents of the
 9   account.5
10          30.     Therefore, obtaining access to and control over a victim’s mobile
11   phone service is the central part of breaking into the victim’s other online accounts,
12   such as email services or financial accounts. The sole reason for the fraudulent
13   SIM swap is for the hackers to take control of the victims’ financial and online
14   accounts that would not otherwise be accessible. A SIM swap is an extremely high-
15   risk transaction, as it directly enables the hacker to take control of a victim’s life.
16          31.     The involvement of a SIM swap victim’s mobile carrier is critical to
17   an unauthorized SIM swap. In order for an unauthorized SIM swap to occur and
18   for a SIM swap victim to be at any risk, the carrier must pro-actively and
19   intentionally activate the SIM card in the hacker’s phone, which simultaneously
20   results in the SIM card in the victim’s phone to be deactivated. At that point, the
21   victim’s phone will display “No Service” as their phone can no longer connect to
22   the carrier’s network.
23          32.     Upon information and belief, in Mr. Ross’s case, not only did AT&T
24   employees, representatives and agents access his account without authorization,
25   5
       See, e.g., Id. at ¶ 4 (“Once [hackers] had control of a victim’s phone number, it was leveraged
26   as a gateway to gain control of online accounts such as the victim’s email, cloud storage, and
     cryptocurrency exchange accounts. Sometimes this was achieved by requesting a password-reset
27   link be sent via [text messaging] to the device control by [hackers]. Sometimes passwords were
     compromised by other means, and [the hacker’s] device was used to received two-factor
28   authentication (‘2FA’) message sent via [text message] intended for the victim.”).
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 1   they also changed his SIM card number to a phone controlled by hackers, who then
 2   immediately used that control to steal from Mr. Ross and access sensitive personal
 3   information.
 4         B.       AT&T Facilitated Unauthorized Access to Mr. Ross’ AT&T
 5                  Account and Gave Control of His Account to Hackers
 6         33.      AT&T employees, representatives and agents accessed Mr. Ross’
 7   AT&T mobile account without his authorization, obtained his confidential and
 8   proprietary personal information, and gave complete control of his mobile service
 9   to hackers – all without Mr. Ross’ knowledge or consent. Those hackers then
10   immediately used their control over Mr. Ross’ mobile phone number to access and
11   take control of his sensitive and confidential information and accounts and steal
12   more than $1 million from him and access sensitive personal information such as
13   passports, drivers’ licenses and birth certificates.
14         34.      On October 26, 2018 at approximately 6:00 PM PT, Mr. Ross began
15   receiving notifications that someone was attempting to withdraw currency from his
16   account at Gemini, a provider of financial services. This caused Mr. Ross
17   significant distress because, at the time, Mr. Ross had $500,000 in USD in his
18   Gemini account.
19         35.      At approximately the same time, Mr. Ross noticed that his AT&T
20   mobile phone had lost service and displayed “No Service”, and he also noticed that
21   he was automatically logged out of his Gmail account.
22         36.      Mr. Ross immediately suspected that a hacker attack was underway
23   and took his mobile phone to an Apple store for assistance.
24         37.      Apple representatives assisted Mr. Ross in contacting AT&T Customer
25   Support. At that time, an AT&T employee, representative and agent informed the
26   Apple representatives that Mr. Ross’ SIM card had been changed. AT&T
27   employees, representatives and agents advised the Apple representatives to provide
28   Mr. Ross with a new SIM card, and then Apple employees replaced the SIM card
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 1   in Mr. Ross’ phone. AT&T then activated the new SIM card, restoring Mr. Ross’
 2   access to his AT&T mobile number and account services.
 3         38.    When Mr. Ross returned home that evening, he called AT&T’s
 4   customer service to discuss the unauthorized access to his account by AT&T
 5   employees, representatives and agents and the unauthorized SIM swap. An AT&T
 6   customer service representative who identified himself as Ryan S. (with a
 7   representative identification number RS410M) informed Mr. Ross that an
 8   unauthorized SIM swap had occurred on his service at approximately 5:47 PM PT
 9   by AT&T representative Cristelo V. (with a representative identification number
10   CV921H).
11         39.    AT&T representative Ryan S. also informed Mr. Ross that this
12   unauthorized SIM swap request was made using customer owned and maintained
13   equipment (“COAM”), and explained that COAM is a mobile phone that is not
14   provided by AT&T and would generally be of unknown origin to AT&T (for
15   example, a hacker might purchase a used mobile phone on the internet).
16   Furthermore, Ryan S. expressed surprise that this SIM swap was executed as he
17   told Mr. Ross it was against AT&T internal policies for an AT&T representative to
18   execute a COAM-originated SIM swap request from anyone calling in to an AT&T
19   call center. Ryan S further represented that he made a specific note of this violation
20   of AT&T’s own policy in Mr. Ross’ account, reading the note verbally to Mr. Ross
21   “I have informed customer that a SIM card and IMEI change occurred on 10/26/18
22   at 5:47pm. This change was approved by agent which is a direct violation of the
23   ATT activation policy.” After a couple of hours on this call, Ryan S told Mr. Ross
24   that his supervisor would take over the call, which she did, and immediately told
25   Mr. Ross that Ryan S should not have given the information he did to Mr. Ross,
26   and she immediately and abruptly terminated the call, causing further distress to
27   Mr. Ross.
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 1             40.   AT&T employees, representatives and agents (including Ryan S.)
 2   represented to Mr. Ross that AT&T would place a warning on his account stating
 3   that he was experiencing fraud and instructing AT&T employees not to change
 4   anything on his account – including his SIM card.
 5             41.   AT&T informs its customers that verbal account passcodes—which
 6   are different than online account sign-in passwords or the passcodes used to access
 7   a mobile device—are used to protect customer’s mobile accounts and may be
 8   required when a customer manages their AT&T account online or in an AT&T
 9   store.6
10             42.   Within minutes of AT&T giving control over Mr. Ross’s AT&T mobile
11   number to the hackers, they used that control to access and take over Mr. Ross’
12   accounts at his financial services providers, including but not limited to, Coinbase,
13   Gemini, and Binance. Coinbase and Gemini allow their users to store US dollars
14   that can be used to buy and sell cryptocurrencies (such as bitcoin) within the user’s
15   account, in a similar way to how users can store US dollars used to buy and sell
16   stocks at financial services providers such as Fidelity, Schwab, and E*Trade.
17             43.   At the time of the SIM swap attack, Mr. Ross had approximately
18   $500,000 in US dollars in his Gemini account and approximately $500,000 in US
19   dollars in his Coinbase account. By utilizing their control over Mr. Ross’ mobile
20   phone number, which AT&T gave them, third-party hackers were able to access
21   and take control of these accounts of Mr. Ross and control the entire USD amounts
22   he held in both accounts. The hackers used Mr. Ross’s $1,000,000 in US dollars to
23   purchase bitcoin—a type of cryptocurrency that can be difficult to trace—and then
24   the hackers transferred that bitcoin into accounts they controlled at a different
25
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     6
      “Get info on passcodes for mobile accounts,” AT&T, available at
28   https://www.att.com/esupport/article.html#!/mobile/KM1049472?gsi=tp3wtr.
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 1   financial services provider. This made the cryptocurrency exceedingly difficult to
 2   trace, let alone recover.7
 3           44.   The hackers also transferred cryptocurrency worth approximately
 4   $3,000 from Mr. Ross’ Binance account into accounts they controlled, thereby
 5   stealing those funds from him as well.
 6           45.   The hackers also used their control over Mr. Ross’ AT&T mobile
 7   phone number to access, change the passwords, and take control of several of Mr.
 8   Ross’ most sensitive online accounts, including, but not limited to, his Authy,
 9   Google, Yahoo!, and DropBox accounts. In taking over his Google account, the
10   hackers also changed his passwords and the phone number linked to Mr. Ross’
11   two-factor authentication for these accounts, which made it impossible for Mr.
12   Ross to regain immediate access to, let alone control of, these accounts (because
13   any requests to remind him of or reset the password no longer were sent to Mr.
14   Ross’ mobile phone, but rather to the hacker’s phone). It took Mr. Ross
15   approximately 7-10 days to regain access to and restore control over his email and,
16   and longer for his other online personal accounts, and several weeks to regain
17   access to the accounts taken over at his other financial services providers. In
18   addition, the hackers deleted several weeks-worth of emails and substantial data
19   from Mr. Ross’ Google account. Mr. Ross has not been able to recover any of this
20   data.
21           46.   Criminal investigations by the California-based Regional Enforcement
22   Allied Computer Team (“REACT”), a multi-jurisdictional law enforcement
23   partnership specializing in cybercrime, into the October 2018 breach of Mr. Ross’
24   AT&T account and the resulting theft revealed the involvement of a third-party
25   7
       See Investigation Report, Regional Enforcement Allied Computer Team, California v. Nicholas
26   Truglia (Oct. 2018) (attached hereto as Exhibit B) at p. 8 (“explaining that “all of Robert R.’s
     funds stored in Coinbase (approximately $500,000) and Gemini (approximately $500,000) had
27   been held in USD. The [hacker] used all the funds in USD at both exchanges to purchase
     bitcoins, then immediately withdrew all of the bitcoins. … This information was subsequently
28   verified by obtaining records directly from Coinbase and Gemini via search warrant.”).
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 1   hacker named Nicholas Truglia, who was arrested by REACT detectives on
 2   November 13, 2018, and faces 21 felony counts in Santa Clara County for SIM
 3   swaps and related thefts, including against Mr. Ross. In their investigation report,
 4   REACT detectives specifically wrote that they obtained a search warrant for AT&T
 5   records pertaining to these thefts, and in response, AT&T provided REACT
 6   investigators with records that showed the same mobile device used by the hacker
 7   (identified through the devices IMEI number) had been used to effect the account
 8   takeovers of Mr. Ross, as well as the accounts of several other victims. In total, the
 9   records indicated that, prior to the unauthorized and illegal SIM swap and theft
10   facilitated by AT&T against Mr. Ross, 11 unique phone numbers had been SIM
11   swapped using this device between October 5 and October 26, 2018. It is
12   incredulous that AT&T not only allowed these other unauthorized SIM swaps to
13   happen, resulting in several other victims, but certainly knew or should have
14   known that the same mobile device used to SIM swap other victims was already
15   being used by a hacker who later used that same device to SIM swap Mr. Ross.
16   Even the most basic check by AT&T would have easily flagged this IMEI as being
17   used to perpetrate completely unauthorized and illicit SIM swaps well prior to the
18   unauthorized and illegal SIM swap against Mr. Ross, which resulted within 45
19   minutes of the theft of almost his entire life's savings of $1,000,000.
20         47.     Mr. Ross’ financial and personal life have been uprooted as a result of
21   AT&T’s failure to safeguard his account.
22         48.     As a result of the SIM swap detailed above, Mr. Ross lost more than
23   $1 million in USD. This money constituted the majority of Mr. Ross’ life savings
24   and the money he had saved for his daughter’s college fund as well as his own
25   retirement.
26         49.     The financial strain resulting from the robbery of Mr. Ross has caused
27   extreme emotional distress for Mr. Ross. The loss of his savings caused massive
28   disruption in Mr. Ross’ financial planning and caused him to worry about the
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 1   financial well-being of himself and his daughter. He has suffered, and continues to
 2   suffer, from severe anxiety, fear, weight gain, depression, and loss of sleep as a
 3   direct result.
 4          50.       Additionally, Mr. Ross’ and his minor daughter’s sensitive and
 5   confidential personal information have been compromised as a result of the SIM
 6   swaps. Mr. Ross stored color copies of their passports, drivers’ licenses, and birth
 7   certificates in the online accounts which were taken over by the hackers as a result
 8   of the AT&T-facilitated SIM swap. Ten years of Mr. Ross’ sensitive and
 9   confidential tax returns were also compromised. All of this information is now at
10   extraordinarily high risk of being posted or bought and sold on the dark web by
11   criminals and identity thieves, putting Mr. Ross and his minor child at ongoing risk
12   of significant privacy violations, identity theft, and countless additional unknown
13   harms for the rest of their lives.
14          C.        AT&T’s Failure to Protect Mr. Ross’ Account from Unauthorized
15                    Access Violates Federal Law

16          51.       AT&T is the world’s largest telecommunications company and
17   provider of mobile telephone services. As a common carrier,8 AT&T is governed
18   by the Federal Communications Act of 1934, as amended (“FCA”),9 and
19   corresponding regulations passed by the FCC.10
20          52.       Recognizing the sensitivity of data collected by mobile carriers,
21   Congress, through the FCA, requires AT&T to protect Mr. Ross’ sensitive personal
22   information to which it has access as a result of its unique position as a
23   telecommunications carrier.11
24          53.       Section 222 of the FCA, which became part of the Act in 1996,
25   requires AT&T to protect the privacy and security of information about its
26
     8
       47 U.S. Code § 153(51).
27   9
       47 U.S.C. § 151 et seq.
     10
        47 C.F.R. § 64.2001 et seq.
28   11
        47 U.S.C. § 222.
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 1   customers. Likewise, Section 201(b) of the Act requires AT&T’s practices related
 2   to the collection of information from its customers to be “just and reasonable” and
 3   declares unlawful any practice that is unjust or unreasonable.12
 4           54.   AT&T’s most specific obligations to protect its customers concerns a
 5   specific type of information, called Customer Proprietary Information and Other
 6   Customer Information, and known by the acronym “CPNI.”13 Specifically, the
 7   FCA “requires telecommunications carriers to take specific steps to ensure that
 8   CPNI is adequately protected from unauthorized disclosure.”14
 9           55.   Carriers like AT&T are liable for failures to protect their customers
10   unauthorized disclosures.15 The FCC has also stated that “[t]o the extent that a
11   carrier’s failure to take reasonable precautions renders private customer
12   information unprotected or results in disclosure of individually identifiable CPNI, .
13   . . a violation of section 222 may have occurred.”16
14           56.   CPNI is defined as “information that relates to the quantity, technical
15   configuration, type, destination, location, and amount of use of a
16   telecommunications service subscribed to by any customer of a
17   telecommunications carrier, and that is made available to the carrier by the
18   customer solely by virtue of the carrier-customer relationship; and . . . information
19   contained in the bills pertaining to telephone exchange service or telephone toll
20   service received by a customer of a carrier.”17
21
22   12
        47 U.S.C. § 201(b).
23   13
        47 U.S.C. § 222(a).
     14
        Report and Order and Further Notice of Proposed Rulemaking, In the Matter of
24   Implementation of the Telecommunications Act of 1996: Telecommunications Carriers’ Use of
25   Customer Proprietary Network Information and Other Customer Information, 22 F.C.C. Rcd.
     6927 ¶ 1 (April 2, 2007) (hereafter, “2007 CPNI Order”).
     15
26      47 U.S.C. §§ 206, 207.
     16
        Declaratory Ruling, In the Matter of Implementation of the Telecommunications Act of 1996:
27   Telecommunications Carriers’ Use of Customer Proprietary Network Information & Other
     Customer Information, 28 F.C.C. Rcd. 9609 ¶ 30 (2013) (hereafter, “2013 CPNI Order”).
28   17
        47 U.S.C. § 222(h)(1).
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 1           57.   As AT&T has admitted to customers, SIM swap attacks constitute a
 2   CPNI breach.
 3           58.   Mr. Ross’ CPNI was breached by one or more AT&T employees,
 4   representatives and agents when they accessed his account and swapped his SIM
 5   card number without his authorization. When employees, representatives and
 6   agents accessed Mr. Ross’ account, his CPNI was visible. On information and
 7   belief, this included, but was not limited to, information about the configuration,
 8   type, and use of his subscribed AT&T services, his personal information, his SIM
 9   card details, and his billing information. AT&T employees, representatives and
10   agents then used this information to effectuate an unauthorized SIM swap.
11           59.   This type of unauthorized use of Mr. Ross’ CPNI is illegal under the
12   FCA. The FCA forbids AT&T from “us[ing], disclos[ing], or permit[ting] access
13   to” CPNI, except in limited circumstances.18 This extends to the carrier’s
14   employees, representatives and agents.
15           60.   AT&T may only use, disclose, or permit access Mr. Ross’ CPNI: (1)
16   as required by law; (2) with his approval; or (3) in its provision of the
17   telecommunications service from which such information is derived, or services
18   necessary to or used in the provision of such telecommunications service.19
19   Beyond such use, “the Commission’s rules require carriers to obtain a customer’s
20   knowing consent before using or disclosing CPNI.”20
21           61.   AT&T failed to protect Mr. Ross from authorized use of his CPNI.
22   AT&T permitted its employees, representatives and agents to use and/or disclose
23   Mr. Ross’ CPNI without obtaining Mr. Ross’ knowing consent beforehand. AT&T
24   employees, representatives and agents, acting within the scope of their
25   employment and agency, likewise did not seek Mr. Ross’ knowing consent before
26
27   18
        47 U.S.C. § 222(c)(1).
     19
        47 U.S.C. § 222.
28   20
        2007 CPNI Order ¶ 8 (emphasis added).
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 1   using, disclosing, and/or permitting access to his CPNI when they accessed his
 2   account and swapped his SIM card. Instead, AT&T employees, representatives and
 3   agents authorized a COAM SIM swap over the phone, in violation of AT&T’s own
 4   internal policies. Because such conduct does not fit within the FCA’s recognized
 5   legitimate uses, it constitutes a violation of the FCA.
 6           62.   Pursuant to the FCA, the FCC has developed comprehensive rules
 7   concerning AT&T’s obligations under its duty to protect customers’ CPNI.21 This
 8   includes rules “designed to ensure that telecommunications carriers establish
 9   effective safeguards to protect against unauthorized use or disclosure of CPNI.” 22
10   The FCC specifically recognizes that “[a]bsent carriers’ adoption of adequate
11   security safeguards, consumers’ sensitive information… can be disclosed to third
12   parties without consumers’ knowledge or consent.”23 In a 2013 order, the FCC
13   “clarif[ied] existing law so that consumers will know that their carriers must
14   safeguard these kinds of information so long as the information is collected by or
15   at the direction of the carrier and the carrier or its designee24 has access to or
16   control over the information.”25
17           63.   Pursuant to these rules, AT&T must “implement a system by which
18   the status of a customer’s CPNI approval can be clearly established prior to the use
19   of CPNI.”26 AT&T is also required to “design their customer service records in
20   such a way that the status of a customer’s CPNI approval can be clearly
21
22
23   21
        See 47 CFR § 64.2001(“The purpose of the rules in this subpart is to implement section 222 of
     the Communications Act of 1934, as amended, 47 U.S.C. 222.”). The FCC also regularly
24   releases CPNI orders that promulgate rules implementing its express statutory obligations. See
25   2007 CPNI Order and 2013 CPNI Order.
     22
        2007 CPNI Order ¶ 9; see also Id. at ¶ 35; 47 U.S.C. § 222(c); 47 C.F.R. § 64.2009.
     23
26      Id.
     24
        In the ruling, “designee” is defined as “an entity to which the carrier has transmitted, or
27   directed the transmission of, CPNI or is the carrier’s agent.” Id. n. 1.
     25
        Id. at ¶ 1 (emphasis added).
28   26
        2007 CPNI Order ¶¶ 8-9 (emphasis added); see also 47 C.F.R. § 64.2009(a).
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 1   established.”27 The FCC’s rules also “require carriers to maintain records that track
 2   access to customer CPNI records.”28
 3           64.   Upon information and belief, AT&T has failed to implement such a
 4   system. The fact that Mr. Ross’ account was accessed, and his SIM card number
 5   was changed without his authorization, demonstrates AT&T’s failures in this
 6   regard.
 7           65.   AT&T is also required to “train their personnel as to when they are
 8   and are not authorized to use CPNI, and carriers must have an express disciplinary
 9   process in place.”29
10           66.   Upon information and belief, AT&T has failed to properly train and
11   supervise its personnel, contractors, representatives and agents, as reflected by an
12   AT&T employee, representative and agent’s involvement in Mr. Ross’ breaches –
13   and that employee, representative’s and agent’s ability to so easily effectuate a SIM
14   swap in violation of AT&T’s own internal policies.
15           67.   AT&T has also breached its duty to safeguard Mr. Ross’ CPNI from
16   data breaches, in violation of Section 222(a) and Section 201(b) of the FCA.
17           68.   The FCC has “[made] clear that carriers’ existing statutory obligations
18   to protect their customers’ CPNI include[s] a requirement that carriers take
19   reasonable steps, which may include encryption, to protect their CPNI databases
20   from hackers and other unauthorized attempts by third parties to access CPNI.”30
21           69.   AT&T failed to take reasonable steps to protect Mr. Ross’ CPNI,
22   thereby allowing third-party hackers to access his CPNI.
23           70.   The FCC also requires that carriers inform customers – and law
24   enforcement – “whenever a security breach results in that customer’s CPNI being
25
     27
26      Id. ¶ 9.
     28
        Id.
27   29
        47 C.F.R. § 64.2009(b) “Safeguards required for use of customer proprietary network
     information”.
28   30
        2007 CPNI Order ¶ 36 (citation omitted).
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 1   disclosed to a third party without that customer’s authorization.” 31 This
 2   requirement extends to any unauthorized disclosure.
 3           71.   In adopting this requirement, the FCC rejected the argument that it
 4   “need not impose new rules about notice to customers of unauthorized disclosure
 5   because competitive market conditions will protect CPNI from unauthorized
 6   disclosure.”32
 7           72.   Instead, the FCC found that “[i]f customers and law enforcement
 8   agencies are unaware of [unauthorized access], unauthorized releases of CPNI will
 9   have little impact on carriers’ behavior, and thus provide little incentive for carriers
10   to prevent further unauthorized releases. By mandating the notification process
11   adopted here, we better empower consumers to make informed decisions about
12   service providers and assist law enforcement with its investigations. This notice
13   will also empower carriers and consumers to take whatever ‘next steps’ are
14   appropriate in light of the customer’s particular situation.”33 The FCC specifically
15   recognized that this notice could allow consumers to take precautions or protect
16   themselves “to avoid stalking or domestic violence.”34
17           73.   AT&T failed in its duty to safeguard Mr. Ross’ CPNI from breaches
18   and, upon information and belief, has failed to properly inform him of such
19   breaches when they occurred. Mr. Ross never received any documentation or
20   communication alerting him that his CPNI had been breached, even though AT&T
21   knew his CPNI had been breached as a result of the REACT criminal investigation,
22   and knew or should have known that his CPNI had been breached as a result of
23   multiple prior SIM swaps enacted by hackers using the same mobile phone and
24   IMEI.
25
26
     31
        2007 CPNI Order at ¶ 26; see also 47 C.F.R § 64.2011(c).
27   32
        2007 CPNI Order ¶ 30.
     33
        Id.
28   34
        Id. at n. 100.
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 1           74.    Under the FCA, AT&T is not just liable for its own violations of the
 2   Act, but also for violations that it “cause[s] or permit[s].”35 By failing to secure
 3   Mr. Ross’ account and protect his CPNI, AT&T caused and/or permitted Mr. Ross’
 4   CPNI to be accessed and used by its own employees, representatives and agents
 5   and by third-party hackers.
 6           75.    AT&T is also responsible for the acts, omissions, and/or failures of
 7   officers, agents, employees, or any other person acting for or employed by AT&T.
 8           D.     Mr. Ross’ Harm was Caused by Defendants’ Negligence
 9           76.    By failing to secure Mr. Ross’ account—and protect the confidential
10   and sensitive data contained therein—and to properly hire, train, and supervise
11   their employees, representatives and agents, Defendants are responsible for the
12   foreseeable harm Mr. Ross suffered as a result of Defendants’ gross negligence.
13           Further, Defendants are responsible for their representatives’ and agents’
14           failure to obtain Mr. Ross’ valid consent before accessing his account and
15           effectuating a SIM swap, as such actions were within the scope of their
16           agency of employment with Defendants. On information and belief,
17           Defendants’ representatives and agents were tasked with and able to change
18           customers’ SIM card numbers at will – even when such changes violated
19           AT&T company policy. Additionally, Defendants representatives’ and
20           agents’ breach of Mr. Ross’ account and the subsequent SIM swap was
21           foreseeable. AT&T has known for more than a decade that third parties
22           frequently attempt to access and take over mobile customers’ accounts for
23           fraudulent purposes.
24
25
     35
26     See 47 U.S.C.A. § 206 (establishing that “[i]n case any common carrier shall do, or cause or
     permit to be done, any act, matter, or thing in this chapter prohibited or declared to be unlawful,
27   or shall omit to do any act, matter, or thing in this chapter required to be done such common
     carrier shall be liable to the person or persons injured thereby for the full amount of damages
28   sustained in consequence of any such violation of the provisions of this chapter[.]”)
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 1           77.   In 2007, the FCC issued an order strengthening its CPNI rules in
 2   response to the growing practice of “pretexting.”36 Pretexting is “the practice of
 3   pretending to be a particular customer or other authorized person in order to obtain
 4   access to that customer’s call detail or other private communication records.”37
 5   This 2007 Order put AT&T on notice that its customers’ accounts were vulnerable
 6   targets of the third-parties seeking unauthorized access.
 7           78.   AT&T and its representatives and agents also knew, or should have
 8   known, about the risk SIM swap crimes presented to its customers. SIM swap
 9   crimes have been a widespread and growing problem for years. The U.S. Fair
10   Trade Commission (“FTC”) reported in 2016 that there were 1,038 reported SIM
11   swap attacks per month in January 2013, which increased sharply to 2,658 per
12   month by January 2016—2.5 times as many.38 The FTC reported that SIM swaps
13   represented 6.3% of all identity thefts reported to the agency in January 2016, and
14   that such thefts “involved all four of the major mobile carriers” – including
15   AT&T.39
16           79.   AT&T knew or should have known that it needed to take steps to
17   protect its customers. The FTC’s 2017 Report stated that “mobile carriers are in a
18   better position than their customers to prevent identity theft through mobile
19   account hijacking[.]”40 The FTC urged carriers like AT&T to “adopt a multi-level
20   approach to authenticating both existing and new customers and require their own
21   employees as well as third-party retailers to use it for all transactions.”41 The FTC
22   also specifically warned carriers like AT&T of the risk that, due to text message
23
     36
        2007 CPNI Order.
24   37
        Id. at ¶ 1.
     38
25      Lori Cranor, FTC Chief Technologist, “Your mobile phone account could be hijacked by an
     identity thief,” Federal Trade Commission (June 7, 2016), available at
26   https://www.ftc.gov/news-events/blogs/techftc/2016/06/your-mobile-phone-account-could-be-
     hijacked-identity-thief (hereafter, “2017 FTC Report”).
27   39
        Id.
     40
        Id. (emphasis added).
28   41
        Id.
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 1   password reset requests and two-factor authentication, SIM swapping put
 2   subscribers at risk of financial loss and privacy violations:
 3                 Having a mobile phone account hijacked can waste hours of a
 4                 victim’s time and cause them to miss important calls and
                   messages. However, this crime is particularly problematic due
 5                 to the growing use of text messages to mobile phones as part of
 6                 authentication schemes for financial services and other
                   accounts. The security of two-factor authentication schemes
 7                 that use phones as one of the factors relies on the assumption
 8                 that someone who steals your password has not also stolen your
                   phone number. Thus, mobile carriers and third-party retailers
 9                 need to be vigilant in their authentication practices to avoid
10                 putting their customers at risk of major financial loss and
                   having email, social network, and other accounts
11                 compromised.42
12
             80.   AT&T admitted it was aware of SIM swap crimes and the effect they
13
     could have on its customers in September 2017 when AT&T’s Vice President of
14
     Security Platforms published an article on AT&T’s “Cyber Aware” blog about SIM
15
     swaps.43 In the article, AT&T acknowledged that subscribers with “valuable
16
     accounts that are accessible online” are likely targets of SIM swaps. AT&T
17
     recommended that its customers set up passcodes that would provide “extra
18
     security.” These passcodes failed to protect Mr. Ross.
19
             81.   AT&T therefore knew that its customers’ accounts were at risk for
20
     longer than a year before Mr. Ross’ account was breached.
21
             82.   AT&T’s inadequate security procedures are particularly egregious in
22
     light of AT&T’s repeated public statements about the importance of cyber security
23
     and its public representations about its expertise in this area. AT&T has an entire
24
     series on its public YouTube channel (“AT&T ThreatTraq”) dedicated to discussing
25
26
27   42
       Id. (emphasis added).
     43
       Brian Rexroad, “Secure Your Number to Reduce SIM Swap Scams,” AT&T’s Cyber Aware
28   (Sep. 2017), available at https://about.att.com/pages/cyberaware/ni/blog/sim_swap.
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 1   and analyzing emerging cybersecurity threats.44 In its videos, AT&T describes
 2   itself as a “network that senses and mitigates cyber threats.”45
 3           83.   AT&T recognizes the risks that arise when a mobile phone is
 4   compromised, stating, “Our phones are mini-computers, and with so much
 5   personal data on our phones today, it’s also important to secure our mobile
 6   devices.”46 AT&T’s advertisements also stress how central a role mobile phones
 7   play in its customer’s lives, stating: “My phone is my life” and “My phone is
 8   everything.” The same ad stresses how the inability to use a mobile phone makes
 9   people feel “completely untethered, flailing around.”47
10           84.   AT&T markets its ability to identify and neutralize emerging cyber
11   threats for its customers. In one video, AT&T employees discuss “threat hunting”
12   – which they describe as “an active threat analysis where you’re actually thinking
13   about your adversary.”48 They claim that it’s “important” and “something [AT&T
14   has] been doing for a long time.”49 They advise that companies should think about
15   “what would a hacker want to do, where would a hacker go to get my data, what
16   are some of the points on my network that are most vulnerable, or where is the data
17   flow that is potentially going to be a leakage” and state that “having threat hunting
18   as part of a proactive continuous program, integrating with existing security
19   measures, will help [you] stay ahead of the threats.”50 AT&T failed to heed this
20   advice.
21
     44
22      “AT&T Tech Channel,” YouTube, available at
     https://www.youtube.com/user/ATTTechChannel.
23   45
        “AT&T – Protect Your Network with the Power of &,” V IMEO, available at
     https://vimeo.com/172399153.
24   46
        AT&T, “Mobile Security,” YOUTUBE (Feb. 12, 2019), available at
25   https://www.youtube.com/watch?v=KSPHS89VnX0.
     47
        “AT&T Mobile Movement Campaign – Ads,” VIMEO, available at
26   https://vimeo.com/224936108.
     48
        AT&T Tech Channel, “The Huntin’ and Phishin’ Episode,” Y OUTUBE (Apr. 21, 2017),
27   available at https://www.youtube.com/watch?v=3g9cPCiFosk.
     49
        Id.
28   50
        Id.
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 1           85.   Not only did AT&T advise staying ahead of and addressing cyber
 2   threats, it also stressed that these practices could even help identify “insider
 3   threats”—employees within the company or authorized representatives and agents.
 4           86.   In an additional video focused on insider threats, AT&T
 5   representatives go on at length about the threat of company insiders selling
 6   corporate information and access, citing a survey showing that “30% [of
 7   respondents] had purposefully sent data outside of their organization at some point
 8   in time” and “14% of the people that were interviewed said they would actually
 9   sell their corporate log-ins to folks on the outside or sell that data for less than
10   about $250 US.”51 They cited as a “significant concern” the “individuals that have
11   privileged access, that have broad access inside an organization.” 52 AT&T
12   therefore knew or should have known that there was a significant risk that its own
13   employees, representatives and agents would provide AT&T customer data—
14   including customer account data—and that the risk was heightened when
15   employees had too broad of access to corporate systems, yet failed to put sufficient
16   systems and resources in place to mitigate that risk, despite its own advice to the
17   contrary.
18           87.   AT&T has also recognized the danger presented to its customers when
19   their email addresses are hacked, as Mr. Ross’ was as a result of AT&T’s failures.
20   As one AT&T employee puts it: “I think most people do have something valuable
21   [in their email accounts], which is access to all their other accounts, which you can
22   get with a password reset.”53 They call this “something worth keeping safe.”54
23
24
25   51
        AT&T ThreatTraq, “The Real Threat of Insider Threats,” YouTube (May 5, 2017), available
26   at https://www.youtube.com/watch?v=ZM5tuNiVsjs (emphasis added).
     52
        Id.
27   53
        Id.
     54
        Id. See also “Account Hijacking Forum OGusers Hacked”, KREBSONSECURITY (May 19,
28   2019) at https://krebsonsecurity.com/2019/05/account-hijacking-forum-ogusers-hacked/
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 1   They advised that a “strong, obviously, security awareness program within a
 2   company… is extremely important.”55
 3           88.    In this online video series, AT&T makes specific mention of SIM
 4   swapping activity. In one video, AT&T’s Vice President of Security Platforms
 5   (Brian Rexroad) and Principal of Technology Security (Matt Keyser) discuss the
 6   hack of a forum called OGusers.56 In the segment, they discuss the hacking of
 7   social media users’ account names and point to a news story that highlights—in
 8   distinct orange type—that OGusers is a forum popular among people “conducting
 9   SIM swapping attacks to seize control over victims’ phone numbers.”57
10
11
12
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15
16                                                 Figure 1
             AT&T’s Vice President of Security Platforms (Brian Rexroad) and Principal of
17           Technology Security (Matt Keyser) discuss the hack of the “OGusers” forum where Sim
             swappers meet and a news story highlighting how SIM swappers seize control of victims’
18           phone numbers.
19
             89.    AT&T was therefore well aware of the significant risk that AT&T
20
     employees, representatives and agents and SIM swapping presented to its
21
     customers, and the need to mitigate such risks, but nonetheless failed to take
22
     adequate steps to protect Mr. Ross. Instead, it continued to make public statements
23
24
25   55
        Id.
     56
26      AT&T ThreatTraq, “5/31/19 Account-hacking Forum OGusers Hacked,” Y OUTUBE (May 31
     2019), available at https://www.youtube.com/watch?time_continue=234&v=cS4xV3cej3A.
27   57
        Id.; see also Freeman Indictment at ¶ 2 (Describing how “discussions—such as discussing the
     manner and means to [SIM swap] attacks generally, and networking among [SIM swap
28   hackers]—typically took place on forums such as “OGusers.”).
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 1   giving rise to a reasonable expectation that AT&T could—and would—protect its
 2   customers.
 3           90.   That Mr. Ross was at risk of account breaches at the hands of AT&T
 4   employees, representatives and agents is particularly foreseeable—and AT&T’s
 5   failures are particularly stark—in light of AT&T’s history of unauthorized
 6   employee, representative and agent access to customer accounts.
 7           91.   In 2015, AT&T became subject to an FCC enforcement action, and
 8   paid a $25 million civil penalty, for nearly identical failures to protect its
 9   customers’ sensitive account data.58 In that case, as AT&T admitted, employees,
10   representatives and agents at an AT&T call center breached 280,000 customers’
11   accounts.59 Specifically, AT&T employees, representatives and agents had
12   improperly used login credentials to access customer accounts and access customer
13   information that could be used to unlock the customers’ devices.60 The employees
14   then sold the information they obtained from the breaches to a third party.61
15           92.   The FCC concluded that AT&T’s “failure to reasonably secure
16   customers’ proprietary information violates a carrier’s statutory duty under the
17   Communications Act to protect that information, and also constitutes an unjust and
18   unreasonable practice in violation of the Act.”62
19           93.   The FCC stressed that the FCA is intended to “ensure that consumers
20   can trust that carriers have taken appropriate steps to ensure that unauthorized
21   persons are not accessing, viewing or misusing their personal information.”63 It
22
23
24
     58
25      In the Matter of AT&T Servs., Inc., 30 F.C.C. Rcd. 2808 (2015) at
     https://docs.fcc.gov/public/attachments/DA-15-399A1.pdf
     59
26      Id. at ¶ 1.
     60
        Id. at ¶¶ 7, 11.
27   61
        Id. at ¶ 1.
     62
        Id. at ¶ 2.
28   63
        Id.
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 1   stressed its expectation that “telecommunications carriers such as AT&T… take
 2   ‘every reasonable precaution’ to protect their customers’ data[.]”64
 3           94.   As part of its penalty, AT&T entered into a stipulated Consent Decree
 4   with the FCC, in which AT&T agreed to develop and implement a compliance plan
 5   to ensure appropriate safeguards to protect consumers against similar breaches by
 6   improving its privacy and data security practices.65
 7           95.   This FCC enforcement action underscores AT&T’s knowledge of the
 8   risk its employees presented to customers, the prevalence of employee breaches to
 9   customer data, the sensitive nature of customer CPNI, and its duties to protect and
10   safeguard that data. Nonetheless, more than 3 years after stipulating to the Consent
11   Decree, AT&T still failed to protect its customer from employee breaches of
12   customer CPNI and other account data, virtually identical to the breach at issue
13   here, heightening the degree of its negligence.
14           96.   In January 2020, Princeton researchers released a study finding that
15   top U.S. mobile carriers, including AT&T, do little to protect customers from SIM
16   swap fraud.66 The study stated “We examined the authentication procedures used
17   by five prepaid wireless carriers when a customer attempted to change their SIM
18   card. We found that all five carriers used insecure authentication challenges
19   that could be easily subverted by attackers. We also found that attackers generally
20   only needed to target the most vulnerable authentication challenges, because the
21   rest could be bypassed.” The researchers pretended to be the true phone owner and
22   said they forgot answers to security questions study stating, “Our key finding is
23   that, at the time of our data collection, all 5 carriers used insecure authentication
24   challenges that could easily be subverted by attackers.” The study also found: (i)
25   64
        Id.
     65
26      Id. at ¶¶ 2, 17-18, 21.
     66
        “An Empirical Study of Wireless Carrier Authentication for SIM Swaps” Kevin Lee, Ben
27   Kaiser, Jonathan Mayer, Arvind Narayanan Dept of Computer Science and Center for
     Information Technology Policy, Princeton University, January 10, 2020 at
28   https://www.issms2fasecure.com/assets/sim_swaps-01-10-2020.pdf
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 1   Callers only needed to successfully respond to one challenge in order to
 2   authenticate, even if they had failed numerous prior challenges. (ii) Four-fifths of
 3   SIM-swap fraud attempts were successful, and the researchers attempted 50 SIM
 4   swaps and successfully completed 39. (iii) AT&T, Verizon and T-Mobile failed the
 5   study. (iv) Some carriers even guided them to the correct answer or didn't ask for
 6   anything at all. The Princeton study was widely reported in the media and
 7   prompted Congress to get involved. In January 2020, Senator Ron Wyden and 5
 8   other Senators and Congressmen published a letter to FCC Chairman Ajit Pai
 9   calling on him to take action to protect consumers against SIM swap fraud, with
10   the Senator stating “SIM swap fraud may also endanger national security. For
11   example, if a cybercriminal or foreign government uses a SIM swap to hack into
12   the email account of a local public safety official, they could then leverage that
13   access to issue emergency alerts using the federal alert and warning system
14   operated by the Federal Emergency Management Agency.”67 Senator Wyden also
15   stated, “Consumers are at the mercy of wireless carriers when it comes to being
16   protected against SIM swaps."68
17           97.   According to a Wall Street Journal (“WSJ”) article from November
18   2019, “He Thought His Phone Was Secure; Then He Lost $24 Million to Hackers,”
19   investigators say they know of more than 3,000 SIM swap victims, accounting for
20   at least $70 million in theft nationwide (the real numbers are likely much higher
21   considering that many cases go unreported).69 The WSJ article states, “the people
22   who investigate these attacks consider them some of the most harmful they have
23   ever seen.” 69 Victims include high profile public officials, celebrities, and business
24   executives like Jack Dorsey, the CEO of Twitter, whose 2019 SIM swap hack was
25   profiled in the Forbes article “Why Twitter Blames AT&T For The Hack Of Its
26
     67
        https://docs.fcc.gov/public/attachments/DOC-362599A1.pdf
27   68
        https://twitter.com/ronwyden/status/1215757690875600896
     69
        https://www.wsj.com/articles/he-thought-his-phone-was-secure-then-he-lost-24-million-to-
28   hackers-11573221600.
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 1   CEO Jack Dorsey Account, Sending Shocking Racist Tweets,” and quotes Jeb Su,
 2   a Principal Analyst at Atherton Research as saying “AT&T’s poor security policy
 3   made this malicious [SIM swap] hack possible.” 70 The same hacker who executed
 4   Jack Dorsey’s SIM swap also successfully hacked the District Attorney
 5   prosecuting the hacker who AT&T gave control to Mr. Ross’ phone service.71
 6           98.   The SIM swap problem is exacerbated by AT&T’s sprawling,
 7   mismanaged and problematic call center system. In 2017, AT&T’s parent (AT&T,
 8   Inc.) had 254,000 employees72 and 38 third-party call centers across eight non-US
 9   countries.73 A study by the Communication Workers of America (“CWA”) entitled
10   “AT&T 2018 Jobs Report: Telecom Giant Hollows Out Middle Class Workforce
11   and Outsources to Global Contractors, Even as it Reaps Tax Windfall” details how
12   AT&T’s call center operation is fundamentally broken. Among the key findings
13   were that (i) employees at AT&T vendor call centers face inadequate training and
14   intense pressure to reach unrealistic quotas – making it difficult to meet
15   customer’s needs; (ii) overseas vendors, paid as little as $1.60 per hour and often
16   rely on other members of their household to make ends meet, provide inaccurate
17   information, fail to solve problems, offer credits or promotions that cannot be
18   honored, and enroll customers in services they did not request; and (iii) the
19   problems caused by overseas operations add to the burden of U.S. based workers,
20   thereby affecting their work. On information and belief, all of AT&T’s numerous
21   customer service representatives are authorized to perform SIM swaps,
22   exacerbating the problem. In order to address its organizational failings, AT&T
23
     70
        https://www.forbes.com/sites/jeanbaptiste/2019/08/31/why-twitter-blames-att-for-ceo-jack-
24   dorsey-account-hack-sending-shocking-racist-tweets/.
     71
25      “Authorities Arrest Alleged Member of Group That Hacked Jack Dorsey”, Vice by Joseph
     Cox, November 23, 2019 at https://www.vice.com/en_us/article/gyzawx/authorities-arrest-
26   suspected-jack-dorsey-hacker.
     72
        https://www.statista.com/statistics/220683/number-of-atundt-employees-since-2007/
27   73
        New Report Pulls Back the Curtain on AT&T's Vast Network of Offshored Call Centers at
     https://cwa-union.org/news/releases/new-report-pulls-back-curtain-on-atts-vast-network-of-
28   offshored-call-centers
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 1   could have created a call center dedicated to SIM swaps, and properly vetted,
 2   trained and supervised SIM swap customer service representatives, in order to
 3   address the problem of unauthorized SIM swaps.
 4         99.    Further compounding AT&T’s problem-ridden call center and SIM
 5   swap mess is how AT&T apparently implemented completely inconsistent
 6   authentication protocols at their wholly-owned call centers as compared to their
 7   third-party call centers (such as One Touch Direct). An AT&T employee named
 8   Robin told Mr. Ross on August 19, 2020 (when Mr. Ross called in via AT&T’s
 9   “611” feature from his phone, which apparently is routed to an AT&T wholly
10   owned call center) that at the time of the fraudulent SIM swap executed against
11   him (at the AT&T third-party call center One Touch Direct), callers requesting a
12   SIM swap to a customer service representative at an AT&T wholly-owned call
13   center received a text confirmation code that the caller needed to provide to the
14   AT&T customer service representative to complete the SIM swap, whereas
15   customers routed to an AT&T third-party call centers (such as One Touch Direct)
16   did not have receive such a text confirmation, and this was because AT&T did not
17   deploy this simple security confirmation solution to callers routed to AT&T third-
18   party call centers. Indeed, the AT&T employee Robin confirmed to Mr. Ross that
19   on the date of the unauthorized SIM swap, AT&T did not send a text confirmation
20   to Mr. Ross and Robin also told Mr. Ross that the AT&T representative Ryan S
21   made a note of that in Mr. Ross’ customer record on the day of the unauthorized
22   SIM swap.
23         100. More significantly, for many years AT&T has been fully aware of
24   well-established technology solutions to deter and prevent unauthorized SIM
25   swaps and resulting thefts, which it could easily have implemented well before Mr.
26   Ross’ phone was SIM swapped, but failed and refused to implement:
27                a.    Location detection. At the exact moment of the SIM swap
28   request, AT&T knew the hacker's phone was in New York City (as detailed in the
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 1   location data AT&T provided to REACT)7 and that Mr. Ross’ phone was
 2   simultaneously in San Francisco, as AT&T tracks customers’ location and even
 3   sells their location data.74 AT&T knew that Mr. Ross and his phone could not
 4   simultaneously be in both San Francisco and New York City, and could have easily
 5   recognized the SIM swap request as a fraud attempt, denied it, and alerted Mr.
 6   Ross. AT&T was actually profiting off customers’ location data at the same time
 7   as it did nothing to use the same location data to prevent the unauthorized SIM
 8   swap.
 9                 b.     Text message. AT&T could have simply sent Mr. Ross a text
10   message asking him to confirm whether he requested the SIM swap. He would
11   have replied “no” and AT&T would have then denied the hacker’s SIM swap
12   request and could have reported the fraud attempt to Mr. Ross. Banks regularly text
13   customers in this way to confirm even small, low-risk transactions to prevent
14   fraud, as in the text Mr. Ross received from Bank of America confirming $1
15   transactions in Figure 2.
16
17
18
19
20
21
22
23
24                                             Figure 2
25              A text message from Bank of America to Mr. Ross asking him to confirm
26
27   74
        FCC Proposes Over $200 Million in Fines Against Four Largest Wireless Carriers For
     Apparently Failing to Adequately Protect Consumer Location Data February 28, 2020 at
28   https://docs.fcc.gov/public/attachments/DOC-362754A1.pdf
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 1              $1 transactions, for the purpose of preventing even low-risk transactions.
 2
     AT&T regularly sends text messages to its customers for marketing purposes, and
 3
     asks customers to reply if they want to stop receiving such texts, as in the message
 4
     AT&T sent to Mr. Ross in Figure 3.
 5
 6
 7
 8
 9
10
11
                                                Figure 3
12
             A text message from AT&T to Mr. Ross promoting $300 off the latest iPhone in
13
                        exchange for an installment upgrade to AT&T’s service.
14
     AT&T obviously has the ability to send such simple text messages to its customers
15
     requesting a reply. As a direct result of the theft of his life savings due to the SIM
16
     swap facilitated by AT&T, Mr. Ross eventually had to cancel his Comcast Xfinity
17
     cable TV service, as he could no longer afford it. During Mr. Ross’ call with
18
     Comcast to request the cancellation, Comcast sent a text confirmation with a web
19
     link that required him to reconfirm the request as displayed in Figure 4.
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21
22
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25
                                                Figure 4
26
                 Text from Comcast confirming Mr. Ross’ request to cancel his service
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 1   Comcast is a direct competitor to AT&T Mobility, as Comcast launched its wireless
 2   service branded as Xfinity Mobile, using Verizon’s network in 2017 75. With every
 3   text confirmation Mr. Ross now receives such as from Bank of America, Comcast
 4   and others, he re-lives and is reminded of the theft as it would have been so easy
 5   for AT&T to have avoided destroying his life, with a simple text message.,
 6                 c.     Email confirmation. AT&T could have simply sent Mr. Ross an
 7   email asking him to confirm whether he requested the SIM swap. AT&T could
 8   have asked for a confirmation directly within the email or directed him to a
 9   legitimate link to confirm the request. Mr. Ross would have replied “no” and
10   AT&T would have then denied the hacker’s SIM swap request and could have
11   reported the fraud attempt to Mr. Ross.
12                 d.     IMEI detection. AT&T detects when the same phone has been
13   used in prior unauthorized SIM swaps, and their records (as provided to REACT)
14   show that, prior to the unauthorized SIM swap AT&T facilitated against Mr. Ross,
15   the same device as identified by its IMEI was used in 11 previous unauthorized
16   SIM swaps.7 AT&T could simply have denied the ability for the phone that was
17   used in previous unauthorized SIM swaps to be used in subsequent SIM swaps,
18   including Mr. Ross’, and also could have alerted Mr. Ross to the fraud attempt.
19                 e.     Voice biometrics. Voice biometrics (or “Voice Id”) is a well-
20   established and cost-effective technology that has been implemented by leading
21   financial institutions (e.g., Chase, Wells Fargo and Schwab) to prevent fraud by
22   verifying customers’ identities by comparing a caller’s voice to a customer (or
23   fraudster) voiceprint stored on file.76 The technology has also been implemented by
24
25
     75
26      Xfiinity Mobile at https://corporate.comcast.com/company/xfinity/mobile and
     https://corporate.comcast.com/company/xfinity/mobile
27   76
        Chase at https://www.chase.com/personal/voice-biometrics, Wells Fargo at
     https://www.wellsfargo.com/privacy-security/voice-verification, and Schwab at
28   https://www.schwab.com/voice-id.
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 1   in Europe, including by the largest carrier in Europe, Deutsche Telekom.77 While
 2   AT&T developed its own voice biometrics solution called AT&T Watson, the
 3   technology was never implemented to prevent SIM swaps, and instead was sold to
 4   Interactions Corporation (“Interactions”) in 2014 in exchange for an equity stake.78
 5   Ironically, Interactions continues to promote its voice biometrics solution as “Secure
 6   and Convenient Authentication,”79 continues to publicly promote the solution to its
 7   large corporate customers who have their own call centers (e.g., banks, insurance
 8   companies), publishing a research report entitled “4 emerging technologies that
 9   could transform your contact center,” which provides in relevant part as
10   follows:Even as companies take steps to guard their IT environments against a
11   growing barrage of cyberthreats, many are neglecting another vulnerable area: their
12   contact centers.
13
                   Social engineering calls to contact centers — in which
14                 fraudsters pose as customers and try to trick agents into
15                 revealing confidential customer information — are on the
                   rise, according to industry experts, particularly at
16                 financial institutions, insurance companies and other
17                 businesses that store sensitive data.
18                 Voice biometrics can help your agents know exactly with
19                 whom they’re talking when they answer a customer call.
                   This technology can recognize voice characteristics
20                 passively and verify callers in real time, whether they
21                 need to speak to one of your representatives or are using
                   your interactive voice response system.
22
23                 “By comparing your callers’ voiceprints against a
                   database of known fraudster voiceprints, voice biometrics
24
     77
25      Deutsche Telekom turns to biometrics for authentication and fraud detection
     https://telecoms.com/491915/dt-turns-to-biometrics-for-authentication-and-fraud-detection/
     78
26      AT&T and Interactions Agree to Strategic Transaction in Speech and Multi-Modal Technology
     Arena November 5, 2014.
27   https://about.att.com/story/att_and_interactions_agree_to_strategic_transaction_in_speech_and_
     multi_modal_technology_arena.html
28   79
        https://www.interactions.com/products/voice-biometrics/
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 1                 programs can help you identify and track potential
                   thieves before they steal your data.”80
 2
 3           f.    Data sharing. Mobile phone carriers in other countries have
 4   implemented a “data sharing” solution to prevent theft once an unauthorized SIM
 5   swap has occurred. In essence, the carriers allow financial institutions real-time
 6   access to their SIM swap data so that the institution can block a requested currency
 7   transfer if there has been a SIM swap within a specified time frame (e.g., within 48
 8   hours of the transfer request), since very recent SIM swap combined with a
 9   withdrawal request is a strong indicator of fraud. The data sharing solution is
10   widely known and broadly used by major carriers outside of the US. Wired
11   magazine published an article entitled “The SIM Swap Fix That the US isn’t
12   Using,” which states in relevant part that “While foreign phone carriers are sharing
13   data to stop SIM swap fraud, US carriers are dragging feet.”81 Wired describes that
14   even carriers in developing countries such as Mozambique implemented the
15   solution within a few months of understanding the extent of the problem, and that
16   the Head of IT, Cyber Security & Core Data Networks at Vodacom reported that
17   “[the solution] reduced their SIM swap fraud to nearly zero overnight".82 Third
18   party aggregators such as Prove.com (formerly Payfone, Inc.) and TeleSign
19   Corporation, who license SIM swap data from non-US carriers and sell it as a fraud
20   prevention offering to banks. Figure 5 shows how all four major carriers in the
21   United Kingdom (“UK”), including British Telecom, Vodafone, O2 and Three,
22   provide their SIM swap data to Prove.com, which in turn sells a fraud prevention
23
24
     80
25      “4 Emerging Technologies That Could Transform Your Contact Center” Mike Rajich, AT&T
     Director of Contact Center and Enterprise Routing Product Management, AT&T
26   https://www.business.att.com/learn/research-reports/4-emerging-technologies-that-could-
     transform-your-contact-center.html
27   81
        The SIM Swap Fix That the US Isn’t Using, Wired, Andy Greenberg, April 26, 2019
     https://www.wired.com/story/sim-swap-fix-carriers-banks/.
28   82
        Id.
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 1   service to banks enabling them to do real-time SIM swap checks to at the time of
 2   customers’ high-risk transactions.83
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 4
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 6
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14                                                   Figure 5
15                  Prove.com system for aggregating SIM swap data from the top 4 UK carriers
16                   and enabling clients, such as banks, to perform real-time SIM swap checks
17
18             101. Had AT&T implemented any of the foregoing low cost and easy to
19   implement technology solutions, Mr. Ross would not have been the victim of an
20   unauthorized SIM swap.
21             102. Instead of implementing solutions to prevent unauthorized SIM
22   swaps, AT&T appears to have made the conscious business decision to profit from
23   unauthorized SIM swaps after they have occurred. On September 18, 2018, six
24   weeks before Mr. Ross’ SIM swap, AT&T, Verizon and T Mobile publicly
25
26
27
28   83
          https://info.prove.com/psd2-sca-uk-mobile-authentication
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 1   announced the joint business scheme they had been developing for months called
 2   “Project Verify,” now known as ZenKey, to profit from the SIM swap problem. 84
 3           103. ZenKey is marketed to consumers as an easier and more secure way to
 4   log into other online services, stating “Your carrier has a unique ability to identify
 5   and protect your mobile identity” and that ZenKey checks for suspicious activity at
 6   the carrier (Figure 6), denoting a real-time SIM swap check (as this is the most
 7   significant suspicious activity that can occur in a customer’s mobile account).85
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22                                              Figure 6
23           AT&T/ZenKey promotes that it “has a unique ability to identify and protect your
24                         mobile identity” and checks for suspicious activity.
25
26
27   84
        U.S. Mobile Giants Want to be Your Online Identity at
     https://krebsonsecurity.com/tag/project-verify/
28   85
        https://myzenkey.com/how-it-works/
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 1   AT&T’s ZenKey consumer app is available to consumers currently in the Apple
 2   and Google app stores for iPhone and Android devices, as shown in Figure 7.86
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12                                            Figure 7
13                           AT&T ZenKey apps for iPhone and Android
14   At the same time, ZenKey is marketed to financial institutions as an identity and
15   authentication scheme through its “Trust Services” offering, to prevent fraud, with
16   the clear representation that its purpose is to combat SIM swap fraud: “SIM Swap
17   Fraud has already cost businesses hundreds of millions of dollars and the threat is
18   increasing. With ZenKey, fraudsters can no longer access your users’ accounts
19   based on stolen credentials and a simple SIM Swap.”87 ZenKey’s benefits page
20   states “SIM swap fraud is on the rise and has cost businesses hundreds of millions
21   of dollars ZenKey offers a suite of APIs and event alerts (Trust Services) for
22   Service Providers to receive on-demand fraud signals and automatic indicators.”88
23   The ZenKey Trust Services proposal, as shown in Figure 8 is effectively executing
24   the same type of real-time SIM swap database check as the data sharing method as
25   described above.
26
     86
        iPhone app at https://apps.apple.com/us/app/zenkey-powered-by-at-t/id1490293601, Android
27   app at https://play.google.com/store/apps/details?id=com.att.cso.consumer.MKapp&hl=en_US
     87
         https://myzenkey.com/trust-services/
28   88
        https://myzenkey.com/business-benefits/
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19                                                Figure 8
20                       ZenKey’s “Trust Services” offering for financial institutions
21   ZenKey seeks to charge fees to financial institutions in exchange for doing real-
22   time checks against carrier databases to verify when a SIM swap (authorized or
23   not) was last done,89 and its Portal Agreement Terms of Service provides that
24   “Certain services accessed or available through the [ZenKey] Portal, especially
25   services for which You [e.g. a bank] are asked to subscribe or pay money, may
26   have their own terms and conditions, including but not limited to the Service
27
28   89
          ZenKey website at https://myzenkey.com/trust-services/
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 1   Agreement.”90 ZenKey has failed to date in the marketplace, and has not yet been
 2   adopted by financial institutions.
 3           104.   By not implementing even basic solutions to mitigate, let alone
 4   substantially reduce SIM swap fraud, AT&T maintains a larger revenue opportunity
 5   for ZenKey, as more unauthorized SIM swaps lead to more fraud at banks, which
 6   result in a greater need for banks to pay for and check SIM swap data in real-time.
 7   While ZenKey has failed to date in the marketplace, and has not yet been adopted
 8   by financial institutions, AT&T and its ZenKey partner-competitors continue to
 9   invest in it (to date, they have invested around $200 million), promote it and
10   develop it, rather than implement simple solutions to broadly prevent unauthorized
11   SIM swaps.
12           105.   Rather than having easily and expeditiously implemented a data
13   sharing solution in which AT&T licensed their SIM swap database to third party
14   aggregators (such as Prove.com91 or TeleSign Corporation92) or directly to financial
15   institutions (such as Coinbase or Gemini), to enable them to do real-time database
16   checks at the time of a high-risk transactions (as non-US carriers do 81), AT&T
17   focused its efforts developing ZenKey in collusion with Verizon and T-Mobile in
18   their ill-conceived (and to-date failed) attempt to more directly profit and control
19   the authentication market opportunity.
20           F.     Defendants Are Liable for the Acts of Their Employees,
21                  Representatives and Agents
22           106.   Defendants are liable for the acts of their employees, representatives
23   and agents who facilitated the unauthorized access to, and resulting theft from, Mr.
24   Ross.
25   90
        https://portal.myzenkey.com/terms
     91
26      The End of Dangerous SIM Swap Fraud is Here: Payfone Extends Real-Time SIM Swap
     Detection Algorithms at https://www.payfone.com/press/the-end-of-dangerous-sim-swap-fraud-
27   is-here/
     92
        How TeleSign Protects Transactions from SIM Swap Fraud at
28   https://www.telesign.com/blog/how-telesign-protects-transactions-from-sim-swap-fraud
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 1          107.      Defendants failed to put in place adequate systems and procedures to
 2   prevent the unauthorized employee, representative and agent access to Mr. Ross’
 3   account and related data. Defendants failed to properly hire and supervise their
 4   employees, representatives and agents, allowing them to access Mr. Ross’ sensitive
 5   and confidential account data without his authorization and provide that data to
 6   third parties.
 7          108.      In the context of AT&T’s enterprise as a telecommunications carrier,
 8   an employee, representative and agent accessing a customer’s account information
 9   and effectuating a SIM swap—even without authorization—is not so unusual or
10   startling that it would be unfair to include the loss resulting from such unauthorized
11   access among other costs of AT&T’s business – particularly in light of AT&T’s
12   awareness of the risk of SIM swaps to its customers.
13          109.      Further, imposing significant liability on AT&T and its agents may
14   prevent recurrence of SIM swap behavior because it creates a strong incentive for
15   vigilance and proper safeguarding of customers’ data by AT&T—which, in the case
16   of its customers, is the sole party in the position to guard substantially against this
17   activity, as it is the custodian and guardian of this data.
18          110.      As a customer of AT&T, Mr. Ross is entitled to rely upon the
19   presumption that AT&T and the employees, representative and agents entrusted
20   with the performance of AT&T’s business have faithfully and honestly discharged
21   the duty owed to him by AT&T, and that they would not gain unauthorized access to
22   his account.
23          111.      The reasonableness of Mr. Ross’ expectations that AT&T would
24   safeguard his data is confirmed by the fact that the federal agency responsible for
25   overseeing AT&T’s duties to its customers, the FCC, has stated that it “fully
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 1   expect[s] carriers to take every reasonable precaution to protect the confidentiality
 2   of proprietary or personal customer information.”93
 3             AT&T’s Misrepresentations and Omissions.
 4            112.    AT&T’s Privacy Policy, and the “Privacy Commitments” included
 5   therein, falsely represents and fails to disclose material information about its data
 6   security practices.
 7            113.    In its Privacy Policy, AT&T promised to protect Mr. Ross’ privacy and
 8   personal information, including by using “security safeguards.” AT&T further
 9   pledges that it will not sell customer data. These representations created an
10   expectation that Mr. Ross’ AT&T account and associated data would be safe and
11   secure, that employees, representatives and agents would not access his account
12   without authorization, that his data would be protected from unauthorized
13   disclosure, and that he could control how and when his data was accessed. Figure 9,
14   immediately below, is an excerpt from AT&T’s Privacy Policy.
15
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23
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25
26
                                                Figure 9 94
27
     93
          2007 CPNI Order ¶ 64.
28   94
          “Privacy Policy,” AT&T, attached hereto as Exhibit C.
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 1          114.   AT&T’s representation that it “uses encryption and other security
 2   safeguards to protect customer data” is false and extremely misleading.
 3          115.   As alleged fully above, AT&T allowed its employees, representatives
 4   and agents to access Mr. Ross’ account, and the CPNI and other sensitive data
 5   contained therein, without his authorization. AT&T’s statement that it would use
 6   encryption and other security safeguards to protect customers’ data is therefore a
 7   material misrepresentation.
 8          116.   Upon information and belief, AT&T’s security safeguards were
 9   inadequate, including its system which—upon information and belief—allowed an
10   individual employee, representative and agent to conduct SIM swaps without
11   adequate technical safeguards and oversight, even when that employee,
12   representative and agent authorizes a COAM SIM swap over the phone in violation
13   of company policy.
14          117.   “Having one employee who can conduct these SIM swaps without any
15   kind of oversight seems to be the real problem,” says Lieutenant John Rose, a
16   member of the California-based Regional Enforcement Allied Computer Team
17   (“REACT”), a multi-jurisdictional law enforcement partnership specializing in
18   cybercrime.67F95 “And it seems like [the carriers] could really put a stop to it if
19   there were more checks and balances to prevent that. It’s still very, very easy to SIM
20   swap, and something has to be done because it’s just too simple. Someone needs to
21   light a fire under some folks to get these protections put in place.”
22          118.   AT&T failed to put in place adequate systems and procedures to
23   prevent the unauthorized employee, representative and agent access to and take
24   over of Mr. Ross’ account and related data. In connection with subsequent criminal
25   investigations into Mr. Ross’ SIM swap, AT&T informed law enforcement that it
26   had the capacity to see how many different SIM cards had been associated with the
27
     95
        Busting SIM Swappers and SIM Swap Myths,” K REBSONSECURITY (Nov. 18, 2018), available
28   at https://krebsonsecurity.com/2018/11/busting-sim-swappers-and-sim-swap-myths.
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 1   same single mobile phone’s IMEI.96 In other words, AT&T could see when one
 2   mobile phone had multiple SIM cards associated with it in a short amount of time.97
 3           119.    AT&T also informed law enforcement that the hacker involved in Mr.
 4   Ross’ SIM swap had requested that eleven different phone numbers be moved onto
 5   his phone (identified by its IMEI number) in the twenty-one days before Mr. Ross’
 6   swap.98 The hacker sometimes moved three different AT&T numbers onto the same
 7   phone in a single day.99 AT&T certainly had the capability to see this behavior, and
 8   could and should have flagged it as suspicious. If AT&T had proper security
 9   safeguards in place, it would have recognized this behavior, flagged it as suspicious,
10   and prevented any further SIM swaps onto that phone – thereby protecting Mr.
11   Ross.
12           120.    Additionally, as alleged fully above, AT&T failed to establish a
13   consent mechanism that verified proper authorization before Mr. Ross’ data was
14   accessed and provided to third parties. AT&T’s statement that it would use
15   encryption and other security safeguards to protect customers’ data is therefore a
16   material misrepresentation. AT&T easily and very quickly detected that the same
17   phone was used in eleven prior unauthorized SIM swaps before the unauthorized
18   SIM swap on Mr. Ross’ phone, and gave this information to the REACT cybercrime
19   task force.7 However, AT&T did nothing to stop the hacker from using the same
20   phone for multiple unauthorized SIM swaps, and had no voice biometric system or
21   other solution in place to prevent the unauthorized SIM swaps.
22           121.    AT&T’s representation that it “will protect [customers’] privacy and
23   keep [their] personal information safe” is false and misleading.
24           122.    As alleged fully above, AT&T failed to establish a consent mechanism
25   that verified proper authorization before Mr. Ross’ account and the data therein
26
     96
        Ex. B. at pp. 8, 22.
27   97
        Id.
     98
        Id.
28   99
        Id. at 22.
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 1   were accessed and used without his authorization or consent and disclosed to third
 2   parties. Mr. Ross’ privacy and personal information was not safe, as demonstrated
 3   by the breach of his AT&T account. AT&T’s statement that it would protect
 4   customers’ privacy and keep their personal information safe is therefore a material
 5   misrepresentation.
 6           123.   AT&T also makes numerous false or misleading representations
 7   concerning its treatment of customers’ data that qualifies as CPNI under the FCA.
 8           124.   AT&T explicitly and falsely represents in its Privacy Policy that it
 9   does not “sell, trade or share” their CPNI:
10                  We do not sell, trade or share your CPNI with anyone
11                  outside of the AT&T family of companies* or our
                    authorized agents, unless required by law (example: a
12                  court order).100
13           125.   As alleged fully above, AT&T and its employees, representatives and
14   agents provided access to Mr. Ross’ CPNI to third-party hackers. This use was not
15   required by law and was instead prohibited by law.
16           126.   AT&T also states that it only uses CPNI “internally” and its only
17   disclosed use of CPNI is “among the AT&T companies and our agents in order to
18   offer you new or enhanced services.”101
19           127.   Defendants’ employees’, representatives’ and agents’ use of Mr. Ross’
20   account and related data as described herein was not for “internal” AT&T purposes,
21   nor was it used to market AT&T services. AT&T’s statements regarding the use of
22   customer CPNI are therefore material misrepresentations. Its failure to disclose this
23   is a material omission.
24
25   100
         “Customer Proprietary Network Information (CPNI),” AT&T, Ex. C at 31-32. The “AT&T
26   family of companies” is defined as “those companies that provide voice, video and broadband-
     related products and/or services domestically and internationally, including the AT&T local and
27   long distance companies, AT&T Corp., AT&T Mobility, DIRECTV, and other subsidiaries or
     affiliates of AT&T Inc. that provide, design, market, or sell these products and/or services.” Id.
28   101
         Id.
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 1         128.    AT&T also falsely represents that it “uses technology and security
 2   features, and strict policy guidelines with ourselves and our agents, to safeguard the
 3   privacy of CPNI.”
 4         129.    As alleged fully above, AT&T and its agents failed to safeguard Mr.
 5   Ross’ CPNI. Instead, it stored customer CPNI in such a way that unauthorized
 6   access was easily obtained by employees and third parties. AT&T’s statements
 7   regarding the technology and security features it uses to safeguard customer CPNI
 8   are therefore material misrepresentations.
 9         130.    AT&T was obligated to disclose the weaknesses and failures of its
10   account and data security practices, as AT&T had exclusive knowledge of material
11   facts not known or knowable to its customers, AT&T actively concealed these
12   material facts from Mr. Ross, and such disclosures were necessary to materially
13   qualify its representations that it took measures to protect consumer data and to
14   materially qualify its partial disclosures concerning its use of customers’ CPNI.
15   Further, AT&T was obligated to disclose its practices under the FCA.
16         131.    A reasonable person would be deceived and misled by AT&T’s
17   misrepresentations, which clearly indicated that AT&T would safeguard its
18   customers’ personal information and CPNI.
19         132.    AT&T intentionally misled Mr. Ross regarding its data security
20   practices in order to maintain his business, make money from his account, and
21   evade prosecution for its unlawful acts. Furthermore, AT&T has invested millions
22   into ZenKey to profit from the SIM swap problem, thereby incentivizing itself (and
23   its two primary competitors) to not timely solve the problem to protect its
24   customers, for which other carriers have implemented highly effective solutions.
25         133.    AT&T’s representations that it protected customers’ personal
26   information, when in fact it did not, were false, deceptive, and misleading and
27   therefore a violation of the FCA.
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 1    VI. CLAIMS FOR RELIEF
 2
 3                                      COUNT I
           Violations of The Federal Communications Act, 47 U.S.C. § 201 et seq.
 4
               134.   Plaintiff Robert Ross realleges and incorporates all of the preceding
 5
     paragraphs as though fully set forth in this cause of action.
 6
               135.   Defendants have violated 47 U.S.C. § 222(a) by failing to protect the
 7
     confidentiality of Mr. Ross’ CPNI, as detailed herein.
 8
               136.   Defendants have violated 47 U.S.C. § 222(c) by using, disclosing,
 9
     and/or permitting access to Mr. Ross’ CPNI without the notice, consent, and/or legal
10
     authorization required under the FCA, as detailed herein. Defendants also caused
11
     and/or permitted third parties to use, disclose, and/or permit access to Mr. Ross’
12
     CPNI without the notice, consent, and/or legal authorization required under the
13
     FCA, as detailed herein.
14
               137.   As fully alleged above, Mr. Ross has suffered injury to his person,
15
     property, health, and reputation as a consequence of Defendants’ violations of the
16
     FCA. Additionally, Mr. Ross has suffered emotional damages, including severe
17
     anxiety and depression, mental anguish, and suffering as a result of Defendants’ acts
18
     and practices. These emotional damages have led directly to physical issues; for
19
     example, Mr. Ross began stress-eating which resulted in Mr. Ross gaining
20
     approximately 40 pounds in only a few months following the Defendants-facilitated
21
     thefts.
22
               138.   Mr. Ross seeks the full amount of damages sustained as a
23
     consequence of Defendants’ violations of the FCA, together with reasonable
24
     attorneys’ fees, to be fixed by the Court and taxed and collected as part of the costs
25
     of the case. Mr. Ross also moves for a writ of injunction or other proper process,
26
     mandatory or otherwise, to restrain Defendants and their officers, agents, or
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 1   representatives from further disobedience of the 2007 and 2013 CPNI Orders, or to
 2   compel their obedience to the same.
 3
                                        COUNT II
 4            Violations of The California Unfair Competition Law (“UCL”)
 5                 under the Unlawful, Unfair and Fraudulent Prongs,
                 California Business & Professional Code § 17200 et seq.
 6
           139.    Plaintiff Robert Ross realleges and incorporates all of the preceding
 7
     paragraphs as though fully set forth in this cause of action.
 8
           140.    California’s Unfair Competition Law (UCL) prohibits any “unlawful,
 9
     unfair or fraudulent business act or practice.” Defendants’ business acts and
10
     practices complained of herein were unlawful, unfair, and fraudulent.
11
           141.    AT&T made material misrepresentations and omissions concerning its
12
     safeguarding of Mr. Ross’ CPNI. As alleged fully above, a reasonable person
13
     would attach importance to the privacy of his sensitive account data in determining
14
     whether to contract with a mobile phone provider.
15
           142.    Defendants had a duty to disclose the nature of their inadequate
16
     security practices and failures in hiring, training, and supervising staff. Defendants
17
     had exclusive knowledge of material facts not known or knowable to AT&T
18
     customers and Defendants actively concealed these material facts from customers.
19
           143.    Further, additional disclosures were necessary to materially qualify
20
     AT&T’s representations that it did not sell consumer data and took measures to
21
     protect that data, and its partial disclosures concerning its use of customers’ CPNI.
22
     AT&T was obligated to disclose its practices, as required by the FCA. The
23
     magnitude of the harm suffered by Mr. Ross underscores the materiality of AT&T’s
24
     omissions.
25
           144.    A reasonable person, such as Mr. Ross, would be deceived and misled
26
     by AT&T’s misrepresentations, which indicated that Defendants would safeguard its
27
     customers’ personal and proprietary information.
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 1         145.    AT&T intentionally misled its customers regarding its data protection
 2   practices in order to attract customers and evade prosecution for its unlawful acts.
 3         146.    Defendants’ actions detailed herein constitute an unlawful business act
 4   or practice. As alleged herein, Defendants’ conduct is a violation of the California
 5   constitutional right to privacy and the FCA.
 6         147.    Defendants’ actions detailed herein constitute an unfair business act or
 7   practice.
 8         148.    Defendants’ conduct lacks reasonable and legitimate justification in
 9   that Mr. Ross has been misled as to the nature and integrity of AT&T’s goods and
10   services and has suffered injury as a result.
11         149.    The gravity of the harm caused by Defendants’ practices far outweigh
12   the utility of their conduct. Defendants’ practices were contrary to the letter and
13   spirit of the FCA and its corresponding regulations, which require mobile carriers to
14   disclose customers’ CPNI only upon proper notice, consent, and authorization, and
15   aims to vest carrier customers with control over their data. Due to the surreptitious
16   nature of Defendants’ actions, Mr. Ross could not have reasonably avoided the
17   harms incurred as a result.
18         150.    As the FCA establishes, it is against public policy to allow carrier
19   employees or other third parties to access, use, or disclose telecommunications
20   customers’ sensitive account information. The effects of Defendants’ conduct are
21   comparable to or the same as a violation of the FCA.
22         151.    Defendants’ actions detailed herein constitute a fraudulent business
23   act or practice.
24         152.    As established herein, Mr. Ross has suffered injury in fact and
25   economic harm as a result of AT&T’s unfair competition. Additionally, had
26   Defendants disclosed the true nature and extent of their data security and protection
27   practices—and the flaws inherent in their systems—and their unwillingness to
28
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 1   properly protect its customers, Mr. Ross would not have subscribed to or paid as
 2   much money for AT&T’s mobile services.
 3         153.     Mr. Ross seeks injunctive and declaratory relief for Defendants’
 4   violations of the UCL. Mr. Ross seeks public injunctive relief against Defendants’
 5   unfair and unlawful practices in order to protect the public and restore to the parties
 6   in interest money or property taken as a result of Defendants’ unfair competition.
 7   Mr. Ross seeks a mandatory cessation of Defendants’ practices, and proper
 8   safeguarding of AT&T account data.
 9
                                           COUNT III
10                Violations of the California Constitutional Right to Privacy
11         154.     Plaintiff Robert Ross realleges and incorporates all of the preceding
12   paragraphs as though fully set forth in this cause of action.
13         155.     The California Constitution declares that, “All people are by nature
14   free and independent and have inalienable rights. Among these are enjoying and
15   defending life and liberty, acquiring, possessing, and protecting property, and
16   pursuing and obtaining safety, happiness, and privacy.” Cal. Const. Art. I, § 1.
17         156.     Mr. Ross has a reasonable expectation of privacy in his mobile device
18   and his AT&T account information.
19         157.     Defendants intentionally intruded on and into Mr. Ross’ solitude,
20   seclusion, or private affairs by allowing its employees and third parties to
21   improperly access Mr. Ross’ confidential AT&T account information without proper
22   consent or authority.
23         158.     The reasonableness of Mr. Ross’ expectations of privacy is supported
24   by AT&T and its agents’ unique position to safeguard his account data, including
25   the sensitive and confidential information contained therein, and protect Mr. Ross
26   from SIM swap attacks.
27         159.     AT&T and its agents’ intrusions into Mr. Ross’ privacy are highly
28   offensive to a reasonable person. This is evidenced by federal legislation enacted
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 1   by Congress and rules promulgated and enforcement actions undertaken by the FCC
 2   aimed at protecting AT&T customers’ sensitive account data from unauthorized use
 3   or access.
 4         160.    The offensiveness of Defendants’ conduct is heightened by AT&T’s
 5   material misrepresentations to Mr. Ross concerning the safety and security of his
 6   account.
 7         161.    Mr. Ross suffered great personal and financial harm by the intrusion
 8   into his private affairs, as detailed throughout this Complaint.
 9         162.    Defendants’ actions and conduct complained of herein were a
10   substantial factor in causing the harm suffered by Mr. Ross. But for Defendants’
11   agents’ and employees’ unauthorized access to Mr. Ross’ account and AT&T’s
12   failure to protect Mr. Ross from such harm through adequate security and oversight
13   systems and procedures, Mr. Ross would not have had his personal privacy
14   repeatedly violated and would not have been a victim of SIM swap theft resulting in
15   his loss of $1,000,000 in cash and the breach of sensitive personal information.
16         163.    As a result of Defendants’ actions, Mr. Ross seeks nominal and
17   punitive damages in an amount to be determined at trial. Mr. Ross seeks punitive
18   damages because Defendants’ actions were malicious, oppressive, and willful.
19   Defendants knew or should have known about the risks faced by Mr. Ross, and the
20   grave consequences of such risks. Nonetheless, Defendants utterly failed to protect
21   Mr. Ross, and instead, AT&T has invested millions of dollars into a scheme to profit
22   from SIM swaps through ZenKey. Punitive damages are warranted to deter
23   Defendants from engaging in future misconduct.
24
25                                        COUNT IV
                                          Negligence
26
           164.    Plaintiff Robert Ross realleges and incorporates all of the preceding
27
     paragraphs as though fully set forth in this cause of action.
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 1         165.     Defendants owed a duty to Mr. Ross—arising from the sensitivity of
 2   his AT&T account information and the foreseeability of harm to Mr. Ross should
 3   Defendants fail to safeguard and protect such data—to exercise reasonable care in
 4   safeguarding his sensitive personal information. This duty included, among other
 5   things, designing, maintaining, monitoring, and testing AT&T’s and its agents’,
 6   partners’, and independent contractors’ systems, protocols, and practices to ensure
 7   that Mr. Ross’ information was adequately secured from unauthorized access.
 8         166.     Federal law and regulations, as well as AT&T’s privacy policy,
 9   acknowledge Defendants’ duty to adequately protect Mr. Ross’ confidential account
10   information.
11         167.     Defendants owed a duty to Mr. Ross to protect his sensitive account
12   data from unauthorized use, access, or disclosure. This included a duty to ensure
13   that his CPNI was used, accessed, or disclosed only with proper consent.
14         168.     Defendants owed a duty to Mr. Ross to implement a system to
15   safeguard against and detect unauthorized access to Mr. Ross’ AT&T data in a
16   timely manner.
17         169.     Defendants owed a duty to Mr. Ross to disclose the material fact that
18   their data security practices were inadequate to safeguard Mr. Ross’ AT&T account
19   data from unauthorized access by its own employees and others.
20         170.     AT&T had a special relationship with Mr. Ross due to its status as his
21   telecommunications carrier, which provided an independent duty of care. AT&T
22   had the unique ability to protect its systems and the data it stored thereon from
23   unauthorized access.
24         171.     Mr. Ross’ willingness to contract with AT&T, and thereby entrust
25   AT&T with his confidential and sensitive account data, was predicated on the
26   understanding that AT&T and its agents would undertake adequate security and
27   consent precautions.
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 1         172.    Defendants breached their duties by, inter alia: (a) failing to
 2   implement and maintain adequate security practices to safeguard Mr. Ross’ AT&T
 3   account and data—including his CPNI—from unauthorized access, as detailed
 4   herein; (b) failing to detect unauthorized accesses in a timely manner; (c) failing to
 5   disclose that their data security practices were inadequate to safeguard Mr. Ross’
 6   data; (d) failing to supervise their agents and employees and prevent them from
 7   accessing and utilizing Mr. Ross’ AT&T account and data without authorization;
 8   and (e) failing to provide adequate and timely notice of unauthorized access.
 9         173.    Defendants were also negligent in their authorization of Mr. Ross’
10   SIM card swap. Defendants knew or should have known that at least ten different
11   AT&T numbers had been moved to the same mobile phone (identified by its IMEI)
12   in the weeks leading up to Mr. Ross’ SIM swap. Defendants knew or should have
13   known that this was highly suspicious. Nevertheless, Defendants effectuated the
14   transfer of Mr. Ross’ AT&T account to this same mobile phone. Defendants had the
15   technical capacity to track this behavior—as reflected in its willingness to do so
16   quickly for law enforcement—but nonetheless failed to utilize it for the benefit and
17   protection of Mr. Ross.
18         174.    But for Defendants’ breaches of their duties, Mr. Ross’ data would not
19   have been accessed by unauthorized individuals.
20         175.    Mr. Ross was a foreseeable victim of Defendants’ inadequate data
21   security practices and consent mechanisms. As alleged fully above, AT&T and its
22   agents knew or should have known that SIM swaps presented a serious threat to its
23   customers, including Mr. Ross, before Mr. Ross’ account was breached for the first
24   time. Defendants also knew or should have known that improper procedures and
25   systems to safeguard customer data could allow their agents and employees to
26   authorize customers’ accounts and data, as occurred in the 2015 FCC enforcement
27   action.
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 1         176.    Defendants knew or should have known that unauthorized access
 2   would cause damage to Mr. Ross. AT&T admitted that unauthorized account access
 3   presents a significant threat to its customers, and it became aware during its 2015
 4   FCC enforcement action of the harms caused by unauthorized account access.
 5         177.    Defendants’ negligent conduct provided a means for unauthorized
 6   individuals to access Mr. Ross’ AT&T account data, take over control of his mobile
 7   phone, and use such access to hack into numerous online accounts in order to rob
 8   Mr. Ross and steal his personal information. As a result of Defendants’ failure to
 9   prevent unauthorized accesses, Mr. Ross suffered grave injury, as alleged fully
10   above, including severe emotional distress. This emotional distress arose out of
11   Defendants’ breach of their legal duties. The damages Mr. Ross suffered were a
12   proximate, reasonably foreseeable result of Defendants’ breaches of their duties.
13   Therefore, Mr. Ross is entitled to damages in an amount to be proven at trial.
14         178.    The injury and harm suffered by Mr. Ross was the reasonably
15   foreseeable result of AT&T’s failure to exercise reasonable care in safeguarding and
16   protecting Mr. Ross’s Personal Information, including his CPI and CPNI. AT&T’s
17   misconduct as alleged herein is malice, fraud or oppression under Civil Code §
18   3294(c)(1) and (2) in that it was despicable conduct carried on by AT&T with a
19   willful and conscious disregard of the rights or safety of Mr. Ross and despicable
20   conduct that has subjected Mr. Ross to cruel and unjust hardship in conscious
21   disregard of his rights. As a result, Mr. Ross is entitled to punitive damages against
22   AT&T under Civil Code § 3294(a). Mr. Ross further alleges on information and
23   belief that Bill O’Hern, who has been in charge of security at AT&T since 2016, and
24   David S. Huntley, who has been in charge of privacy, had advance knowledge of the
25   inadequacies of AT&T’s security, the participation of AT&T employees in evading
26   or bypassing security, and they committed or ratified the acts of oppression, fraud or
27   malice alleged herein.
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 1                                        COUNT V
 2                                       Concealment

 3         179. Plaintiff Robert Ross realleges and incorporates all of the preceding

 4   paragraphs as though fully set forth in this cause of action.

 5         180. As alleged above, AT&T, including Chief Security Officer Bill

 6   O’Hern and Chief Compliance Officer David S. Huntley, who are respectively in

 7   charge of AT&T’s security and privacy protections, knew that its data security

 8   measures were grossly inadequate, that its employees and agents could readily

 9   bypass the procedures, that its employees actively cooperated with hackers and

10   thieves, and that it was incapable of living up to its commitments to consumers,

11   including to Mr. Ross, under state and federal law, as well as under its own Privacy

12   Policy, to protect his Personal Information, including CPI and CPNI.

13         181. Mr. Ross was unaware that AT&T’s security measures did not include

14   low cost and readily available solutions which would have prevented his SIM swap

15   and resulting theft.

16         182. AT&T, including Mr. O’Hern and Mr. Huntley, knew or should have

17   known from prior incidents and contacts with law enforcement that its system was

18   subject to SIM swap fraud, that its employees cooperated with hackers in such

19   fraud, that such fraud was prevalent in the cryptocurrency community, and that its

20   security measures were ineffective in preventing the fraud. Mr. O’Hern should

21   have been well aware of this because he is in charge of security and AT&T and Mr.

22   Huntley should have known because he is in charge of insuring that AT&T protects

23   the privacy of its customers.

24         183. AT&T did not disclose these things to Mr. Ross and willfully deceived

25   Mr. Ross by concealing the true facts concerning its data security, which AT&T

26   was legally obligated and had a duty to disclose. It did so in order to induce Mr.

27   Ross to remain as its customer.

28         184. Had AT&T disclosed the true facts about its dangerously poor data
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 1   security practices and that is was motivated to profit from SIM swaps rather than
 2   correct the problem, Mr. Ross would have taken further measures to protect himself
 3   and would have ceased being a customer of AT&T.
 4         185. Mr. Ross justifiably relied on AT&T to provide accurate and complete
 5   information about its data security in continuing to be AT&T’s customer. Rather
 6   than disclosing the inadequacies in its security, including the additional security it
 7   encouraged Mr. Ross to place on his account, AT&T willfully suppressed any
 8   information relating to such inadequacies.
 9         186. AT&T’s actions are “deceit” under Cal. Civ. Code § 1710 in that they
10   are the suppression of a fact by one who is bound to disclose it, or who gives
11   information of other facts which are likely to mislead for want of communication
12   of that fact Because of the deceit by AT&T, it is liable under Cal. Civ. Code§ 1709
13   for “any damage which [Mr. Ross] thereby suffers.”
14         187. Because of this deceit by Defendants, Mr. Ross’s Personal
15   Information, including his CPI and CPNI, as described above, was compromised
16   by hackers and he was deprived of $1 million. The connection between AT&T, the
17   SIM swap and the loss of Mr. Ross’s funds is alleged hereinabove. In addition, Mr.
18   Ross’s Personal Information is now easily available to hackers, including through
19   the Dark Web. Mr. Ross is further damaged to the extent of the amounts that he has
20   paid AT&T for wireless services, because those services were either worth nothing
21   or worth less than was paid for them because of lack of security. Mr. Ross has also
22   suffered substantial out-of-pocket costs because of AT&T’s inadequate security.
23         188. Because AT&T’s deceit is fraud under Civil Code § 3294(c)(3) ,and
24   AT&T’s conduct was done with malice, fraud and oppression, Mr. Ross is entitled
25   to punitive damages under Civil Code § 3294(a). Mr. Ross further alleges on
26   information and belief that Bill O’Hern, who has been in charge of security at
27   AT&T since 2016, and David S. Huntley, who has been in charge of privacy, had
28   advance knowledge of the inadequacies of AT&T’s security, the participation of
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 1   AT&T employees in evading or bypassing security, and they committed or ratified
 2   the acts of oppression, fraud or malice alleged herein.
 3
 4                                      COUNT VI
                           Negligent Supervision and Entrustment
 5
             189.   Plaintiff Robert Ross realleges and incorporates all of the preceding
 6
     paragraphs as though fully set forth in this cause of action.
 7
             190.   AT&T conducts its business activities through employees or other
 8
     agents, including One Touch Direct and One Touch Direct-SA.
 9
             191.   Defendants are liable for harm resulting from their agents and
10
     employees because they were reckless or negligent in employing and/or entrusting
11
     agents and employees in work involving the risk of harm to others, including Mr.
12
     Ross.
13
             192.   On information and belief, Defendants knew or had reason to believe
14
     that their agents and employees were unfit and failed to exercise reasonable care in
15
     properly investigating and overseeing them. AT&T was negligent in supervising its
16
     agents and in entrusting them with what it knew to be highly sensitive confidential
17
     information. One Touch Direct and One Touch Direct-SA were negligent in
18
     supervising their agents and employees and in entrusting them with what they knew
19
     to be highly sensitive confidential information. Defendants knew or had reason to
20
     know that their agents and employees were likely to harm others in view of the
21
     work AT&T entrusted to them. Specifically, AT&T entrusted its agents and
22
     employees with the responsibility to conduct SIM card changes without sufficient
23
     oversight – as demonstrated by the representative and agent effectuating the
24
     October 2018 SIM swap on Mr. Ross’ account despite AT&T’s policy disallowing
25
     COAM SIM changes over the phone.
26
             193.   Additionally, as alleged fully above, the hacker involved in Mr. Ross’
27
     SIM swap had associated numerous different SIM cards with the same device IMEI
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 1   in the days leading up to Mr. Ross’ attack. Despite the highly suspicious nature of
 2   this activity, and AT&T’s ability to track such requests, AT&T and its agents failed
 3   to put any additional protections on customer accounts to prevent its employees
 4   from approving additional SIM swaps to the same IMEI.
 5         194.   Upon information and belief, Defendants failed to exercise due care in
 6   selecting their agents and employees, and thereby negligently or recklessly
 7   employed employees to do acts—including accessing customer accounts and
 8   effectuating SIM swaps—which necessarily brought them in contact with others,
 9   including Mr. Ross, while in the performance of those duties.
10         195.   Defendants’ acts, as alleged herein, were negligent in that they created
11   the risk of unauthorized account access, SIM card changes, and the damages
12   resulting therefrom.
13         196.   Defendants also failed to properly supervise their agents and
14   employees, and instead continued to negligently entrust them with sensitive
15   customer data. On information and belief, had AT&T not contracted out customer
16   service functions to third parties such as One Touch Direct and One Touch Direct-
17   SA, and had One Touch Direct or One Touch Direct-SA fired the involved the
18   employee when they first began to exhibit suspicious SIM swap activity—including
19   but not limited to approving SIM changes that violated AT&T policy—Mr. Ross
20   would not have been injured.
21         197.   On information and belief, had Defendants built a system to
22   effectively authenticate and verify consumer consent before allowing its agents or
23   employees to access their CPNI—as required by the FCA—Mr. Ross would not
24   have been injured.
25         198.   On information and belief, had Defendants prevented individual
26   employees from unilaterally performing SIM swaps without proper oversight, Mr.
27   Ross would not have been injured.
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 1         199.    In sum, Defendants gave their agents and employees the tools and
 2   opportunities they needed to gain unauthorized access to Mr. Ross’ account and
 3   failed to prevent them from doing so, thereby allowing them to use AT&T’s systems
 4   to perpetuate privacy breaches and thefts against Mr. Ross.
 5         200.    The Defendants’ agent(s’) and employee(s’) actions have a causal
 6   nexus to their employment. Mr. Ross’ injuries arose out of his contract with AT&T
 7   as his carrier, and AT&T’s access to his CPNI and account data as a result. The risk
 8   of injury to Mr. Ross was inherent in the AT&T working environment.
 9         201.    Mr. Ross’ injury was also foreseeable. As alleged fully above,
10   Defendants were aware of the risks that SIM swaps presented to AT&T customers.
11   Defendants were also aware that AT&T customers’ accounts were vulnerable to
12   unauthorized access by their agents and employees, as demonstrated in the 2015
13   FCC enforcement action. Furthermore, Mr. Ross’ injury was foreseeable as
14   Defendants could have and should have seen that the same hacker phone had been
15   used in multiple previous unauthorized SIM swaps.
16
17                                    COUNT VII
            Violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030
18
           202.    Plaintiff Robert Ross realleges and incorporates all of the preceding
19
     paragraphs as though fully set forth in this cause of action.
20
           203.    Mr. Ross’ mobile device is capable of connecting to the Internet.
21
           204.    Defendants’ agents and employees, in the scope of their employment,
22
     intentionally accessed Mr. Ross’ mobile device, and assisted others in accessing his
23
     mobile device, without Mr. Ross’ authorization, in order to assist hackers in their
24
     theft of Mr. Ross.
25
           205.    The Defendants agents and employees took these actions knowing
26
     that they would cause damage to Mr. Ross’ mobile device, as well as damage to the
27
     information located on his mobile device.
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 1         206.   The Defendants agents and employees caused Mr. Ross’ mobile
 2   device and much of the data on it to be unusable to him.
 3         207.   Because of the Defendants’ agents’ and employees’ actions, Mr. Ross
 4   suffered damage to his mobile device and damage to information on his mobile
 5   device, including being unable to access information and data on his mobile device
 6   and being unable to access his personal accounts, including his personal (e.g.
 7   Gmail) and financial (e.g. cryptocurrency and PayPal) accounts.
 8         208.   The act of swapping Mr. Ross’ AT&T mobile SIM card was in the
 9   scope of the Defendants’ agents and employees’ work.
10         209.   Further, Mr. Ross spent in excess of $5,000 investigating who
11   accessed his mobile device and damaged information on it.
12
13    VII. PRAYER FOR RELIEF
14         210.   WHEREFORE, Plaintiff Robert Ross requests that judgment be
15   entered against Defendants and that the Court grant the following:
16          A.    Judgment against Defendants for Plaintiff’s asserted causes of action;
17          B.    Public injunctive relief requiring cessation of Defendants’ acts and
18                practices complained of herein pursuant to, inter alia, Cal. Bus. &
19                Prof. Code § 17200 and 47 U.S.C. § 401(b);
20          C.    Pre- and post-judgment interest, as allowed by law;
21          D.    An award of monetary damages, including punitive damages, as
22                allowed by law;
23          E.    Reasonable attorneys’ fees and costs reasonably incurred, including
24                but not limited to attorneys’ fees and costs pursuant to 47 U.S.C. §
25                206; and
26          F.    Any and all other and further relief to which Plaintiff may be entitled.
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 1                         DEMAND FOR JURY TRIAL
 2      Plaintiff demands a trial by jury of all issues so triable.
 3
     DATED:
 4
 5                                       CHRISTOPHER GRIVAKES
                                         AFFELD GRIVAKES LLP
 6
 7
 8                                       By: /s/ DRAFT
 9                                                           Christopher Grivakes
10                                       Attorneys for Plaintiff ROBERT ROSS

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Whenever you do something like buy one of our products, watch a show or download
an app, information is created. Because we know your privacy is important, we have a
Privacy Policy to explain how we collect, use and protect that information. There’s a
quick summary below, and the actual policy is written in an easy to understand
“Frequently Asked Questions” (FAQ) format (/sites/privacy_policy/terms). We
want to simplify this explanation, so you can make informed choices about your
privacy, and then spend the rest of your time enjoying our products and services.



Revised February 15, 2019




Our Privacy Policy applies to your use of all products, services and websites offered by
AT&T and our AT&T affiliates, such as DIRECTV, unless they have a different privacy
policy. Because some apps, including some AT&T and DTV branded apps, require
additional information, or use information in different ways, they may have their own
privacy policies and/or terms and conditions. These apps may also offer you additional
choices for managing your personal information.

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Our privacy commitments

     • We don’t sell your Personal Information to anyone for any purpose. Period.
     • We keep your Personal Information in our business records while you are a
       customer, or until it is no longer needed for business, tax or legal purposes.
     • We will keep your information safe using encryption or other appropriate
       security controls.
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Here’s some of the information we collect:

    • Account Information includes your name, address, telephone number, e-mail
      address, service-related details such as payment data, security codes, service
      history and other information like that;
    • Network Performance & Usage Information tells us how you use our
      networks, our products and our services, and how well our equipment and
      networks are performing;
    • Web Browsing & Wireless Application Information tells us about the
      websites you visit and the mobile applications you use on our networks;
    • Location Information tells us where your wireless device is located, as well as
      your ZIP-code and street address;
    • TV Viewing Information tells us about which programs you watch and record
      and similar information about how you use our video services and applications.

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Here are the three basic ways we collect it:

    • We get information from you when you do things like make a purchase from us;
    • We collect it from how you use our products and services;
    • We obtain information from other sources, like credit agencies, marketing
      companies, and other service providers.

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Here are just some of the ways we use it. To:

    • Provide services and improve your customer experience;
    • Send you bills for your services;
    • Respond to your questions;
    • Address network integrity, help in fraud prevention and network and device
      security issues;
    • Do research and analysis to maintain, protect, develop and improve our
      networks and services;
    • Let you know about service updates, content, offers and promotions that may
      be of interest to you;
    • Improve entertainment options;
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    • Deliver Relevant Advertising;
    • Create External Marketing & Analytics Reports;
    • Assist in the prevention and investigation of illegal activities and violations of our
      Terms of Service or Acceptable Use Policies.

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Some examples of who we share your Personal Information with:

    • Across our companies to give you the best customer experience and to help
      you get everything we have to offer.
    • Other, non-AT&T companies that perform services on our behalf only as
      needed for them to perform those services. We require them to protect your
      information consistent with our Policy.
    • With other companies and entities, to:
           ◦ Respond to 911 requests and other emergencies or exigencies;
           ◦ Comply with court orders and other legal process;
           ◦ Assist with identity verification, and preventing fraud and identity theft;
           ◦ Enforce our agreements and property rights;
           ◦ and Obtain payment for products and services including the transfer or
             sale of delinquent accounts to third parties for collection

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Understanding Personal, Anonymous & Aggregate Information

    • What is Personal Information? Information that identifies or reasonably can be
      used to identify you.
    • What is Anonymous Information? This is information that doesn’t identify you
      and can't reasonably be used to identify you specifically.
    • What is Aggregate Information? We take a whole bunch of people’s data and
      combine it into anonymous groups or categories.
    • How do we use this information? We use and share this information in many
      ways including research, analysis, retail marketing, and advertising. This data is
      also included in External Marketing & Analytics Reports.
    • Want to learn more? Go here (/sites/privacy_policy/terms#aggregate).

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     • We want you to know that we don't knowingly collect personally identifying
       information from anyone under the age of 13 unless we first obtain permission
       from the child's parent or legal guardian.

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Your Choices & Controls

     • For information about children’s safety and parental controls, view our AT&T
       Smart Controls and DIRECTV Parental Controls
       (https://www.att.com/shop/wireless/smartcontrols.html).
     • You have choices about certain types of advertising you get from us;
     • You can control whether your Anonymous Information is used in our External
       Marketing & Analytics Reports;
     • You can choose whether to receive marketing calls, e-mails or text messages or
       certain other communications from us;
     • You have a choice about how we use your Customer Proprietary Network
       Information.

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Visit our Privacy Policy (/sites/privacy_policy/full_privacy_policy) for more
information.

     • Definitions (/sites/privacy_policy/terms#definitions)
     • Scope of this Policy (/sites/privacy_policy/terms#scope)
     • The Information We Collect, How We Collect It, And How We Use It
       (/sites/privacy_policy/terms#collect)
     • Information Sharing (/sites/privacy_policy/terms#sharing)
     • Online Activity Tracking and Advertising
       (/sites/privacy_policy/terms#tracking)
     • Location Information (/sites/privacy_policy/terms#location)
     • Aggregate and Anonymous Information
       (/sites/privacy_policy/terms#aggregate)
     • External Marketing & Analytics Reports
       (/sites/privacy_policy/terms#analytics)
     • Online Privacy Policy for Children (/sites/privacy_policy/terms#children)
     • Data Protection & Security (/sites/privacy_policy/terms#protection)
     • Changes (/sites/privacy_policy/terms#changes)
     • Choices & Controls (/sites/privacy_policy/terms#controls)
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     • How to Contact Us (/sites/privacy_policy/terms#contact)



Your California Privacy Rights
California Civil Code Section 1798.83 entitles California customers to request
information concerning whether a business has disclosed Personal Information to any
third parties for their direct marketing purposes. As stated in this Privacy Policy, we will
not sell your Personal Information to other companies and we will not share it with
other companies for them to use for their own marketing purposes without your
consent.

California Web Site Data Collection & "Do Not Track" Notices

Web Site Data Collection: We do not knowingly allow other parties to collect
personally identifiable information about your online activities over time and across
third-party web sites when you use our websites and services. We provide information
about the opt-out choices available to customers, and the opt-out choices provided by
certain third-party website and mobile application analytics companies we use here
(/sites/privacy_policy/rights_choices).

"Do Not Track" Notice: Because the providers of "do not track" and similar signals do
not yet operate according to common, industry-accepted standards, we currently do
not respond to those signals. For more information on Do Not Track, please visit
www.allaboutdnt.com (http://www.allaboutdnt.com/).

California customers who wish to request further information about our compliance with
these requirements, or have questions or concerns about our privacy practices and
policies may contact us at privacypolicy@att.com (mailto:privacypolicy@att.com),
or write to us at AT&T Privacy Policy, Chief Privacy Office, 208 S. Akard, Room 1033,
Dallas, TX 75202.

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Our AT&T Privacy Policy in easy to understand, FAQ format.

We understand that everyone thinks that privacy policies are long, complicated and
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difficult to understand. So we're going to try to make this as simple as possible.

What is the purpose of AT&T’s Privacy Policy? Whenever you do something like
buy or use one of our products or services or visit our websites, information is created.
Because we know privacy is important to you, we have the AT&T Privacy Policy to
explain how we collect, use, protect, and share that created information. Thus, the
main purpose of the Policy is to help you understand our relationship and how we are
able to deliver and improve the services we offer.

How should this Policy be used? We encourage you to read the whole policy so you
will understand fully our relationship. To find specific information, here is an outline of
where you will find answers to your questions about key topics:

Visit these links for more information.

     •   Definitions
     •   Scope of this Policy
     •   The Information We Collect, How We Collect It, And How We Use It
     •   Information Sharing
     •   Online Activity Tracking and Advertising
     •   Location Information
     •   Aggregate and Anonymous Information
     •   External Marketing & Analytics Reports
     •   Online Privacy Policy for Children
     •   Data Protection & Security
     •   Changes
     •   Choices & Controls
     •   How to Contact Us

Definitions

Let's start with what we mean when we say:

Aggregate Information: We combine individual information into anonymous groups of
customers or users. One way to think of it is in terms of a survey or opinion poll.
Aggregate information would tell you that 80 percent of the people voted for a
candidate, but not who actually voted. These groups are large enough to reasonably
prevent individuals from being identified.
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Anonymous Information: Information that doesn't directly identify and can't
reasonably be used to identify an individual customer or user. We treat identifiers like
cookies, advertising identifiers, device identifiers, and household identifiers as
Anonymous Information except in circumstances where they can be used to identify
you.

AT&T: Throughout this Policy, references to “AT&T,” “we,” “us,” and “our” include the
family of AT&T companies around the world except affiliates or applications with a
separate privacy policy.

Customer: Anyone who purchases or uses our products or services. When a customer
purchases retail products or services for use by others, like a family account, those
family members also are customers.

Mobile Application: A software application that runs on smartphones, tablet
computers or other mobile devices and that allows users to access a variety of
services and information.

Personal Information: Information that directly identifies or reasonably can be used to
figure out the identity of a customer or user, such as your name, address, phone
number and e-mail address. Personal Information does not include published listing
information.

Relevant Advertising: Creates aggregate audience segments based on non-
personally identifiable information about customers (like age, ethnicity, income range, a
particular geographic area, and their interests) to serve advertising that is more likely to
be useful to those audience segments. "Online behavioral advertising" is one type of
Relevant Advertising. It uses interest categories based on the websites visited by
people who are not personally identified to deliver advertising online.

Third-Party Services: Services from third-party service providers other than AT&T,
such as banks or roadside assistance companies.

User: Anyone who visits our websites or uses our mobile applications.

Website: And other terms like "Internet site," "site" and "web page" all mean the same
thing, namely any page or location on the Internet, no matter what device (cell phone,
tablet, laptop, PC, etc.) or protocol (http, WAP, ftp or other) is used to access the page
or location.
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Questions about the Scope of this Policy

   1. To whom does the Policy apply?

This Privacy Policy applies to customers and users of AT&T products and services,
except customers and users of products or services provided by an affiliate or an
application with a different privacy policy.

   2. What does this Policy cover?

This Privacy Policy covers our practices regarding the information we collect about our
customers and users (how we collect it and how we use it). Use of our products and
services, as well as visits to our websites, are subject to this Privacy Policy.

   3. Do you have any Privacy Policies other than this one?

Yes. Some AT&T affiliates or applications may have separate privacy policies that
describe how they collect, use and share information they collect from their customers
and users. When we share Personal Information with those affiliates or combine it with
information from those applications we protect it in a way consistent with this Privacy
Policy.

Additionally, some of our applications may have terms and conditions that describe
other privacy commitments or choices in addition to those in this Privacy Policy.

Some areas outside the United States require us to work a little differently. In that case,
we may adopt separate privacy policies as necessary to reflect the requirements of
applicable local laws.

The Joint AT&T EchoStar Privacy Policy for AT&T|DISH Network Customer Account
Information remains in effect for AT&T|DISH subscribers.

   4. What about my family members and other users of my AT&T account?
      Does this Policy apply to them?

Yes. You're responsible for making sure all family members or other users under your
account understand and agree to this Policy. Get everyone together and talk about it.
Or, send it by e-mail to make sure they're on board. Hang it on the fridge. Up to you,
just share it!
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   5. When is information not covered by this Policy?

If you purchase or use the products or services of an AT&T affiliate that has a different
privacy policy than this one, that privacy policy will apply.

Additionally, this Privacy Policy does not apply any time you give information to
companies other than AT&T. Some examples are:

     • When you use a non-AT&T Wi-Fi service;
     • When you download applications or make purchases from other companies
       while using our Internet or wireless services;
     • When you go to a non-AT&T website from one of our websites or applications
       (by clicking on a link or an advertisement, for example);
     • When you give your information to another company through a website co-
       branded by AT&T but controlled by the other company;
     • If you use public forums - such as social networking services, Internet bulletin
       boards, chat rooms, or blogs - the information is publicly available, and we
       cannot prevent distribution and use of that information by other parties;
     • Information about your location, usage and the numbers you dial when you're
       out and about and roaming on the network of another company;
     • When you purchase or use non-AT&T products (such as wireless devices,
       internet browsers and mobile applications) in combination with our services;
     • When we license our brand to other companies for their use in marketing and
       selling certain non-AT&T products and services, information you give those
       companies is not covered by this Policy.

   6. Can my information be covered by this Policy and other privacy policies at
      the same time?

Yes, that can happen. For example:

Sometimes we will work with other, unaffiliated companies to provide a service. In that
case your information may be subject to this Policy and that of the other company. For
example, you purchase one of our products or services from a retailer like Best Buy or
Amazon.com, any information you provide to them may be subject to both their policy
and ours.
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If you connect to our Wi-Fi service through another network, such as one provided in a
hotel, airport or other venue, any information collected from your use of that network
could be subject to either the AT&T Privacy Policy or the venue policy, and sometimes
both. The same thing applies if you connect to our network through your employer's
corporate network, or any network operated by a non-AT&T company.

We think it's a great idea to take a look at the privacy policies of any companies you do
business with to learn how they use your information.

  7. What about business customers?

We may have written product or service agreements with our business customers that
contain specific provisions about confidentiality, security or handling of information.
When one of these agreements differs from or conflicts with this Policy, the terms of
those agreements will apply. In all other instances, the terms of this Policy apply.

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Questions About The Information We Collect, How We Collect It, And
How We Use It

  1. What information do you collect?

We may collect different types of information based on your use of our products and
services and on our business relationship with you.

     • Account Information:
            ◦ Contact Information that allows us to communicate with you. We get
               this information when you order or register for our services. This would
               include information like your name, address, telephone number and e-
               mail address.
            ◦ Billing Information related to your financial relationship with us, such as
               the services we provide to you, the telephone numbers you call and text,
               your payment history, your credit history, your credit card numbers,
               Social Security number, security codes and your service history.
     • Technical & Usage Information related to the services we provide to you,
       including information about how you use our networks, services, products or
       websites. Some examples include:
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        ◦ Equipment Information that identifies the equipment on our networks,
          such as equipment type, device identifiers, device status, serial
          numbers, settings, configuration and software.
        ◦ Network Performance & Usage Information about the operation of the
          equipment, services and applications you use on our networks.
          Examples of this might include wireless device location, the number of
          text messages sent and received, voice minutes used, calling and
          texting records, bandwidth used, and resources you use when
          uploading, downloading or streaming data to and from the Internet. We
          also collect information like transmission rates and delays, data
          associated with remote monitoring services and security characteristics.
                ◦ Some Network Performance & Usage Information and some
                  Billing Information is Customer Proprietary Network
                  Information or "CPNI." Unique rules apply to CPNI. Go here
                  (/sites/privacy_policy/rights_choices#cpni) to learn more
                  about what it is, how we use it and the choice you can make
                  about that use.
        ◦ Web Browsing & Mobile Application Information such as IP
          addresses, URLs, data transmission rates and delays. We also learn
          about the pages you visit, the time you spend, the links or
          advertisements you see and follow, the search terms you enter, how
          often you open an application, how long you spend using the app and
          other similar information.
• Location Information includes your ZIP-code and street address, as well as
  the whereabouts of your wireless device. Location information is generated
  when your device communicates with cell towers, Wi-Fi routers or access points
  and/or with other technologies, including the satellites that comprise the Global
  Positioning System.
• TV Viewing Information is generated by your use of any of our satellite or
  IPTV (U-verse) services. These services may include video on demand, pay per
  view, DVR services, applications to watch your TV on the go for tablet or
  smartphone (such as the TV Everywhere app) and similar AT&T services and
  products, including the programs and channels you and those in your
  household watch and record, the times you watch and how long you watch. It
  also includes information like the interactive channels and games provided by
  U-verse or DIRECTV. We also collect information related to your use and
  interaction with the equipment in your home, including the TV receivers, set top
  boxes, remotes and other devices you may use to access our services.
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   2. How Do You Collect Information?

In three basic ways:

     • You Give It To Us when you make a purchase or set up an account with us;
     • We Automatically Collect Information when you use our networks, products
       and services. For example, we use network tools to collect your call records; we
       collect wireless device location from our networks and from your device; and we
       also use cookies (/sites/privacy_policy/cookies_and_other_technologies),
       web server logs and other technologies.
     • We Obtain Information from Outside Sources like credit reports, marketing
       mailing lists, and commercially available geographic and demographic
       information along with other publicly available information, such as public posts
       to social networking sites.

   3. How Do You Use This Information?

We use your information to improve your experience and to make our business
stronger. Some examples include:

     • Providing and managing your services, responding to your questions and
       addressing problems;
     • Delivering customized content, or advertising, such as personalized offers for
       products and services that may be of interest to you;
     • Communicating service updates, offers and promotions;
     • Protecting network integrity and security, ensuring quality control, optimizing
       capacity and preventing misuse;
     • Network enhancement planning, engineering and technical support;
     • Conducting research and analysis for maintaining, protecting and developing
       our networks and our services;
     • Preventing illegal activities, suspected fraud, and potential threats to our
       networks and our customers’ networks;
     • Investigating violations of our Terms of Service, Acceptable Use Policies, or
       other service conditions or restrictions; and
     • Protecting the safety of any person.

   4. Do you use the information I store using one of your cloud services?

We only use it to provide you with that service, unless we first get your permission to
use it for something different.
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Questions About Information Sharing

   1. Do you provide information for phone books and Caller ID?

Yes and No.

Yes, we share the names, addresses and telephone numbers of our wireline telephone
and U-verse Voice customers with businesses that publish directories and provide
directory assistance services. We are required by law to do that. You may contact us
(http://about.att.com/sites/privacy_policy/terms#contact) and we honor your
request for non-published or non-listed phone numbers. Once we provide published
listing information to those businesses, they may use, sort, package, repackage and
make it available again in different formats to anyone.

Yes, we also provide wireline and wireless calling name and number information for
CallerID, and related services like Call Trace, which allow a person receiving a call to
obtain the name and number of the party calling them.

No, we do not give listing information for wireless numbers to phone book publishers or
directory assistance services without your permission.

   2. Do you share my Personal Information internally?

Yes. Our products and services are developed, managed, marketed and sold by a
variety of our affiliated companies. We may share Personal Information internally,
including with affiliated companies that may have different privacy policies. When we
do this we require the affiliated company or companies to protect the Personal
Information in a way consistent with this Privacy Policy. We may also combine
Personal Information with data derived from an application that has a different privacy
policy. When we do that, this Privacy Policy applies to the combined data set. Sharing
information in these ways helps us offer you the high quality, seamless and innovative
range of products you have come to expect from us. Some of these include:

     • Wireless voice, data, Internet, home security, automation and remote monitoring
       services provided by AT&T Mobility and AT&T Digital Life; and
     • The suite of satellite and IPTV services, Voice and High Speed Internet Access
       services offered by our companies.
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If the affiliate relationship with one of our AT&T subsidiaries is not clear, information
sharing with that subsidiary is handled as though it is a non-AT&T company. The
relationship between AT&T branded companies can typically be identified through the
use of the AT&T name or brand, the use of the AT&T "globe" logo, or through
advertising, cross-promotional offers, or widely reported news or information in the
press or social media that highlights the company as an AT&T affiliate (like Xandr and
our highly publicized merger with the Time Warner family, now called WarnerMedia
(/ecms/dam/sites/Privacy%20Policy/WarnerMedia%20Affiliates.pdf)). Affiliated
companies that are not publicly recognized as part of the AT&T family of companies
are treated as though they are non-AT&T companies for purposes of information
sharing under this policy.

   3. Do you share my Personal Information with other non-AT&T companies for
      them to market to me?

We will only share your Personal Information with other non-AT&T companies for them
to use for the marketing of their own products and services when we have your
consent.

   4. Are there any other times when you might provide my Personal Information
      to other non-AT&T companies or entities?

Yes. We share your Personal Information with other, non-AT&T companies that perform
services for us, like processing your bill. Because we take our responsibility to
safeguard your Personal Information seriously, we do not allow those companies to
use it for any purpose other than to perform those services, and we require them to
protect it in a way consistent with this Privacy Policy. Companies that perform these
services may be located outside the United States or the jurisdiction where you reside.
If your Personal Information is shared with these companies, it could be accessible to
government authorities according to the laws that govern those jurisdictions. There are
also occasions when we provide Personal Information to other non-AT&T companies or
other entities, such as government agencies, credit bureaus and collection agencies,
without your consent. Some examples include sharing to:

     • Comply with court orders, subpoenas, lawful discovery requests and other legal
       or regulatory requirements, and to enforce our legal rights or defend against
       legal claims;
     • Obtain payment or make refunds for products and services that appear on your
       AT&T billing statements, including the transfer or sale of delinquent accounts or
       refund obligations to third parties for collection or payment.
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     • Enforce our agreements and protect our rights or property;
     • Assist with identity verification and e-mail address validation;
     • Respond to lawful requests by public authorities, including to meet national
       security or law enforcement requirements;
     • Notify, respond or provide information (including location information) to a
       responsible governmental entity in emergency or exigent circumstances or in
       situations involving immediate danger of death or serious physical injury; and
     • Notify the National Center for Missing and Exploited Children of information
       concerning child pornography of which we become aware through the provision
       of our services.

  5. Do you share my personally identifiable TV Viewing Information with other,
     non-AT&T companies?

We don't share your personally identifiable TV Viewing Information with other non-
AT&T companies for them to use for the marketing of their own products and services
without your consent. We are required to notify you about the special requirements we
must follow when it comes to sharing your personally identifiable TV Viewing
Information in response to a Court Order:

Notice Regarding Disclosure of Personally Identifiable Information of Satellite
and IPTV Subscribers in Response to A Court Order

     • In the case of a court order obtained by a non-governmental entity, we are
       authorized to disclose personally identifiable information collected from TV
       subscribers as a result of the subscriber's use of TV service only after providing
       prior notice to the subscriber.
     • In the case of a court order obtained by a governmental entity, we are
       authorized to disclose personally identifiable information collected from TV
       subscribers as a result of the subscriber's use of TV service only if, in the court
       proceeding relevant to the order:
             ◦ The governmental entity offers clear and convincing evidence that the
               subject of the information is reasonably suspected of engaging in
               criminal activity and that the information sought would be material
               evidence in the case; and
             ◦ The subject of the information has an opportunity to appear and contest
               the governmental entity's claim; and
             ◦ We have provided notice to the subscriber as required by applicable
               state law.
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Questions About My Information and Advertising

   1. Do you use my information to send me advertising?

Yes. We may use information like the preferences you have expressed and interests
you have demonstrated on our websites, in our stores and through use of our products
and services, to provide you with marketing information and advertisements for our
products and services. Those ads may be delivered on our websites and mobile
applications. This is called "first party" advertising. It is part of our service relationship
and you are not able to opt-out from this type of advertising.

We or our advertising partners may use Anonymous Information gathered through
cookies and similar technologies
(/sites/privacy_policy/cookies_and_other_technologies), as well as other
Anonymous Information and Aggregate Information that either of us may have to help
us tailor the ads you see on non-AT&T sites. For example, if you see an ad from us on
a non-AT&T sports-related website, you may later receive an ad for sporting equipment
delivered by us on a different website. This is called Online Behavioral Advertising,
which is a type of Relevant Advertising.

   2. Do you use my information for other types of Relevant Advertising?

Yes. We may also use information we get through your use of our products and
services, from our advertising partners, and information like your age and gender to
deliver Relevant Advertising that is not Online Behavioral Advertising. We combine
your Anonymous Information with that of other users into aggregate "audience
segments". These segments are based on particular interests and/or factual
characteristics that everyone in that audience segment is likely to share. We might use
that information to send you advertisements that are relevant to those interests or
characteristics. When we use this information to deliver, and measure the effectiveness
of, advertisements we associate it with other information, like advertising IDs, device
IDs, or similar identifiers. We are careful to only use non-personally identifiable
information to serve Relevant Advertising with aggregate audience segments that are
large enough that you can't be identified individually.

In some cases you may agree to participate in advertising offers or programs through
loyalty programs, when you download a mobile app, or other similar programs. In those
cases, you will be told about the advertising program when you sign up. For more
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information about those advertising programs, please consult the terms, conditions,
and policies of the specific application or loyalty programs you are interested in or have
joined.

   3. Do you use the location of my device for advertising purposes?

Yes. We use information about the locations you visit in order to create combined
wireless location interest characteristics that can be used to provide Relevant
Advertising to you and others like you.

Location characteristics are types of locations - like "movie theaters". People who live
in a particular geographic area (a city, ZIP-code or ZIP+ 4 code, for example) might
appear to have a high interest in movies, thanks to collective information that shows
wireless devices from that area are often located in the vicinity of movie theaters. We
might create a "movies characteristic" for that area, and deliver movie ads to the
people who live there.

We may associate your wireless device with a particular geographic area, such as a
city, ZIP-code, or ZIP + 4 code, based on your billing address or the cell towers you
connect with most frequently.

In addition to other privacy protections, the process we use to create our audience
segment includes a requirement that the ZIP + 4 or other geographic area to which a
wireless location is assigned must contain a minimum of 25 households. ZIP + 4 codes
with less than 25 households are combined with other ZIP + 4 codes to satisfy this
requirement.

   4. What's in it for me?

Just like the name says, you get advertising that's more relevant to your interests. For
example, if a particular audience segment, like adults between the ages of 21 and 25
with a certain income range, has demonstrated a greater interest in movies than other
segments, we might send them a movie ad for a movie geared toward young adults.
This is just one way we deliver content that's more relevant.

   5. How do you use information about the programs I watch on TV to advertise
      to me?
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We combine information about the shows that our customers are watching with their
common interests to help us figure out what types of advertising they might be
interested in seeing.

It sometimes works like this: We look at the group of people watching a particular
show. We identify common characteristics within that group. We use those
characteristics to identify and deliver advertising that might be most relevant to
watchers of that TV show. We might also deliver that same advertising during shows
that appear to have similar audiences.

  6. Do I ever have a chance to tell you what I'm personally interested in?

Yes. With some programs offered or powered by AT&T you can sign up to receive text-
message offers from businesses that are near your current location and match the
interests you've selected. You can change your mind at any time and stop participating
in these programs.

  7. What information do you provide to advertisers?

We may provide reports to advertisers and other business customers about the
success of its advertising campaigns. Those reports contain Anonymous Information
about the number of times a particular ad was viewed, when it was viewed, whether it
was viewed on a TV, a mobile device or a computer, demographics associated with the
viewing audience and other similar information. Your Anonymous Information will not
be included in aggregate reports about the success of Relevant Advertising campaigns
if you have opted-out of Relevant Advertising delivered by AT&T.

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Questions About Location Information

  1. What is location information?

Exactly what it sounds like! It includes your ZIP-code and street address, as well as the
whereabouts of your wireless device.

  2. How is it used?

We use it in all kinds of ways, here are some examples:
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     • We Provide Wireless Voice and Data Services: We monitor, collect and use
       wireless location information, together with other information we get from our
       network and your wireless device, to maintain and improve our network. We
       also might use location information with your consent to provide you with a
       customized experience. For example, when you dial 411 Directory Assistance
       for a business telephone number, we might use your wireless location
       information to return the number of the business location closest to you.
     • Location Based Services (LBS): Your device can be used to access a ton of
       services based on location. We offer these services via applications that have
       been pre-loaded or downloaded by you on your device. LBS also may be
       provided via text message or other functionality. We’ll give you prior notice and
       ask for your consent when your location is used or shared. The form of consent
       may vary, but will be appropriate for the type of LBS you use.
     • LBS from other providers: With your consent (to us or the other company) we
       also may enable LBS from other companies by providing location information to
       their developers or location service providers.
     • We use it for Advertising

   3. How accurate is wireless location information?

It depends on the technology we're using. For example, we can locate your device
based on the cell tower that's serving you. The range could be up to 1,000 meters in
any direction from the tower in urban areas, and up to 10,000 meters in rural areas.
Wi-Fi networks provide more accurate location information, associating you with the
place where the network is located - like a coffee shop - or to an area within or around
that place.

Services such as 411, 911, a "friend locator" application or a navigation/mapping
application, require more precise information. So for those we develop a more precise
estimate of location by associating the serving cell tower ID with other information, like
the latitude and longitude of the tower, radio frequency parameters, GPS information
and timing differences in radio signals. Depending on a variety of factors, those
methods may estimate the location of your device to within 30 to 1000 meters.

   4. Are you the only ones who can locate my wireless device?

Other companies may also be able to locate your device. For example, your handset
manufacturer and your operating system provider may be able to locate your device. If
you download mobile applications, those apps may be able to obtain your location
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directly from your handset or the operating system. Mobile applications that give you
access to your employer's network may also give your employer the ability to locate
your device.

We urge you to review policies of all providers.

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Questions About Aggregate and Anonymous Information

   1. Where do you get Anonymous Information?

Sometimes we'll collect information about how you use our products using cookies
and other similar technologies
(/sites/privacy_policy/cookies_and_other_technologies). This information doesn't
include your Personal Information and is considered anonymous.

When we collect information that identifies you personally, we may anonymize it for
certain purposes. We remove data fields (such as name, address and telephone
number) that can reasonably be used to identify you. We also use a variety of
statistical techniques and operational controls to anonymize data. Anonymizing
information is one of the tools we use to protect your privacy.

   2. Tell me more about aggregate information.

Aggregate information is a form of Anonymous Information. We combine data that
meet certain criteria into anonymous groups. For example, we might want to compare
how customers in Beverly Hills, CA (or any city, county or ZIP-code) use their cell
phones to how customers in Boulder, CO use their cell phones. In order to do that, we
would combine customer data in each of the geographies into anonymous groups and
look at all that aggregate data to understand how the two groups are different or
similar.

   3. Do you share Anonymous or Aggregate Information?

Yes, we may share this information with other companies and entities for specific uses,
which may include:

     • Universities, laboratories, think tanks and other entities that conduct networking,
       social, behavioral, environmental and other types of scientific research, for the
       purpose of creating fundamental new knowledge;
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     • Municipalities, government or other entities that may use this data for purposes
       such as municipal and transportation planning, and emergency and disaster
       response coordination;
     • Advertisers and related companies for the delivery of advertising and to assess
       the effectiveness of advertising campaigns.

We share this information in external reports like our External Marketing & Analytics
Reports and Metric Reports.

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Questions About External Marketing & Analytics Reports

  1. Tell me more about the External Marketing & Analytics Program.

We use aggregate information to create External Marketing & Analytics Reports that
we may sell to other companies for their own marketing, advertising or other similar
uses.

These reports may be a combination of information from wireless and Wi-Fi locations,
TV Viewing, calling and texting records, website browsing and mobile application
usage and other information we have about you and other customers. You have a
choice about whether your Anonymous Information is included in the reports that we
sell or provide to other companies.

Some examples of External Marketing & Analytics Reports include:

     • Reports for retail businesses that show the number of wireless devices in or
       near their store locations by time of day and day of the week, together with
       demographic characteristics or other information about the users (such as
       device type, age or gender) in those groups.
     • Reports that combine anonymous TV Viewing behaviors with other aggregate
       information we may have about our subscribers to create reports that would
       help a TV network better understand the audiences that are viewing their
       programs, those that are not, how frequently they watch, when they watch and
       other similar information; and
     • Reports for device manufacturers that combine information such as device type,
       make and model with demographic and regional location information to reflect
       the popularity of particular device types with various customer segments.
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   2. Do you provide companies with individual anonymous data as part of your
      External Marketing & Analytics Program?

Yes. For example, we might share anonymous TV Viewing Information with media
research companies that combine this data with other information to provide audience
analysis services about what shows certain audience segments are watching. When
we provide individual Anonymous Information to businesses, we require that they only
use it to compile aggregate reports, and for no other purpose. We also require
businesses to agree they will not attempt to identify any person using this information,
and that they will handle it in a secure manner, consistent with this Policy.

   3. Do you use my Anonymous Information in other types of external reports?

Yes, we may use your Anonymous Information to provide Metrics Reports to our
business customers, advertisers, and service suppliers. These reports are considered
part of the underlying service and we do not sell them to other customers or suppliers.

For example, if you connect to our Wi-Fi service in a hotel, airport or other venue you
should know the operator of that venue is our business customer, and that we will
provide that operator with Metrics Reports about usage of and communications with
the Wi-Fi network in their location. Those reports contain statistical information like:

     • The number of devices connecting to the Wi-Fi network, duration of Wi-Fi
       sessions and the amount of bandwidth used during those sessions; and
     • Foot-traffic data, including the numbers of devices inside and outside the store
       at a given time; the number of new and frequent visitors; where visitors are
       located within the store (e.g., specific departments or other locations within the
       venue) and frequency of visits and time spent within the store.
     • NOTE: When your wireless device is turned on, it regularly sends out signals
       that enable it to connect to cell towers, Wi-Fi access points or other
       technologies so that we (and others) are able to provide you with services.
       These signals can be used to determine your device location. You can turn Wi-
       Fi to the "off" position on the "settings" feature of your device to prevent the
       collection of these signals by Wi-Fi equipment in retail stores and other public
       places.
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Another example, we also license video programming from content providers. As part
of our agreement, we provide them with Metrics Reports. These reports contain
combined measurements and statistical information related to the number of TV
subscribers who watched or accessed a particular program at a particular time and
other similar measurements.

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Questions About Our Online Privacy Policy for Children

  1. Do you collect information about my children's use?

We do not knowingly collect personally identifying information from anyone under the
age of 13 unless we first obtain permission from the child's parent or legal guardian.

  2. What happens when my child is using an account not registered to them?

Internet and wireless devices and services purchased for family use may be used by
children without our knowledge. When that happens, information collected may appear
to us to be associated with the adult customer who subscribes to our services and will
be treated as the adult's information under this Policy.

  3. What can I do to help better protect my child's information?

We encourage you to spend time online with your children, and to participate in and
monitor their online activity. We have developed a website that offers safety and control
tools, expert resources and tips designed to help you manage technology choices and
address safety concerns. Please visit AT&T Smart Controls
(https://www.att.com/shop/wireless/smartcontrols.html) for more information.

  4. What if my child has an AT&T e-mail sub-account?

If you create an AT&T e-mail sub-account for a child under the age of 13:

     • With your permission we collect your child’s name, nicknames and aliases,
       alternative e-mail address, birth date, gender and ZIP-code.
     • We use the information collected on sub-accounts to create and maintain those
       accounts, for research, to customize the advertising and content seen on our
       pages and for other marketing purposes. Your child can use their AT&T e-mail
       address and password to log onto websites and online services provided by us,
       like uverse.com (http://uverse.com/). We and our advertising partners may
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       collect and use information about customers who log onto those sites as
       described in the "Questions about the Information We Collect, How we
       Collect It and How We Use It" section of this Privacy Policy. A list of the
       advertising partners who collect information on our sites and the ability to opt-
       out of advertising provided by those partners is available here
       (/sites/privacy_policy/rights_choices).
     • We will not contact a child under the age of 13 about special offers or for
       marketing purposes without parental consent.
     • You or your child can review, edit, update, and delete information relating to
       your child's sub-account and, if you no longer wish your child to have such an
       account, you can revoke your consent at any time, by logging on to manage
       your account here (https://www.att.com/olam/loginAction.olamexecute?
       actionType=manage).

You may e-mail us at privacypolicy@att.com (mailto:privacypolicy@att.com), call
us at 800.495.1547 or write to us at AT&T Privacy Policy, Chief Privacy Office, 208 S.
Akard, Room 1033, Dallas, TX 75202 with any questions or concerns you may have
about our Children's Online Privacy Policy.

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Questions About Data Protection & Security

  1. Do we sell your Personal Information?

No. We do not sell your Personal Information
(/sites/privacy_policy/terms#definitions) to anyone, for any purpose. Period.

  2. How long do we keep your Personal Information?

We keep your Personal Information (/sites/privacy_policy/terms#definitions) as
long as we need it for business, tax or legal purposes. After that, we destroy it by
making it unreadable or undecipherable.

  3. What safeguards does AT&T have in place?

We've worked hard to protect your information. And we've established electronic and
administrative safeguards designed to make the information we collect secure. Some
examples of those safeguards include:
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• All of our employees are subject to the AT&T Code of Business Conduct
  (COBC)
  (https://www.att.com/Common/about_us/downloads/att_code_of_business
  _conduct.pdf) and certain state-mandated codes of conduct. Under the COBC,
  all employees must follow the laws, rules, regulations, court and/or
  administrative orders that apply to our business - including, specifically, the
  legal requirements and company policies surrounding the privacy of
  communications and the security and privacy of your records. We take this
  seriously, and any of our employees who fail to meet the standards we've set in
  the COBC are subject to disciplinary action. That includes dismissal.
• We've implemented technology and security features and strict policy guidelines
  to safeguard the privacy of your Personal Information. Some examples are:
        ◦ Maintaining and protecting the security of computer storage and network
          equipment, and using our security procedures that require employee
          user names and passwords to access sensitive data;
        ◦ Applying encryption or other appropriate security controls to protect
          Personal Information when stored or transmitted by us;
        ◦ Limiting access to Personal Information to only those with jobs requiring
          such access; and
        ◦ Requiring caller/online authentication before providing Account
          Information so that only you or someone who knows your Account
          Information will be able to access or change the information.
        ◦ Although we strive to keep your Personal Information secure, no security
          measures are perfect, and we cannot guarantee that your Personal
          Information will never be disclosed in a manner inconsistent with this
          Policy (for example, as the result of unauthorized acts by third parties
          that violate the law or this Policy).

    4. Will you notify me in case of a security breach?

 Laws and regulations guide us in how to give you notification when certain
 types of sensitive information are involved in a security breach. We will provide
 you with notice in accordance with these laws and regulations.

    5. Can I review and correct my Personal Information?

 Yes. We are happy to help you review and correct the Personal Information we
 have associated with your account and billing records within a reasonable time.
 Please see the How to Contact Us About This Policy
 (http://about.att.com/sites/privacy_policy/terms#contact) section.
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 Questions About Future Changes

    1. What happens if there is a change in corporate ownership?

 Information about our customers and users, including Personal Information,
 may be shared and transferred as part of any merger, acquisition, sale of
 company assets or transition of service to another provider. This also applies in
 the unlikely event of an insolvency, bankruptcy or receivership in which
 customer and user records would be transferred to another entity as a result of
 such a proceeding.

    2. Will I be notified if there are changes to this policy?

 We may update this Privacy Policy as necessary to reflect changes we make
 and to satisfy legal requirements. We will post a prominent notice of material
 changes on our websites. We will provide you with other appropriate notice of
 important changes at least 30 days before the effective date.

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 Your Choices & Controls

    1. You can choose not to receive some types of advertising online, on
       your satellite TV service or on your wireless device.

      • Relevant Advertising: Opt-out of Relevant Advertising delivered by
        AT&T here
        (https://cprodmasx.att.com/commonLogin/igate_wam/controller.do
        ?
        TAM_OP=login&USERNAME=unauthenticated&ERROR_CODE=0x0
        0000000&ERROR_TEXT=HPDBA0521I%20%20%20Successful%20c
        ompletion&METHOD=GET&URL=%2Fpkmsvouchfor%3FATT%26htt
        ps%3A%2F%2Fcprodx.att.com%2Fcmp%2Fcmpa%2Flogin.jsp&REF
        ERER=https%3A%2F%2Fwww.att.com%2FCommon%2Fabout_us%
        2Fprivacy_policy%2Fprint_policy.html&HOSTNAME=cprodmasx.att.
        com&AUTHNLEVEL=&FAILREASON=&OLDSESSION).
      • Online Behavioral Advertising: Advertising that is customized based
        on predictions generated from your visits over time and across different
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        websites is sometimes called "online behavioral" or "interest-based"
        advertising. In accordance with industry self-regulatory principles, you
        can opt out of online behavioral advertising from companies who
        participate in the Digital Advertising Alliance
        (http://www.aboutads.info/) by going to their Consumer Choice Page
        (http://www.aboutads.info/choices/#completed) or by clicking on this
        icon (http://www.aboutads.info/) when you see it on an online ad.
        Opt-out of online behavioral advertising from many other ad networks at
        the Network Advertising Initiative (NAI) site
        (http://www.networkadvertising.org/choices/).
      • Information about Cookies and Similar Technologies: To limit
        collection of data on web sites that may be used for advertising, go here
        (http://about.att.com/sites/privacy_policy/cookies_and_other_techn
        ologies) for information on how to manage cookies and other similar
        technologies on your computer.
      • Advertising on att.net: Opt-out of receiving interest-based advertising
        when using our att.net portal services powered by Synacor
        (http://www.aboutads.info/choices). Opt-out of interest-based
        advertising on att.net from Yahoo! This covers att.net email and also the
        Yahoo! (https://aim.yahoo.com/aim/us/en/optout/index.htm) portal
        that is being retired.
      • Advertising Offers from Apps and Loyalty Programs: In some cases
        you may agree to participate in advertising offers or programs through
        loyalty programs, when you download a mobile app, or other similar
        programs. For example, if you have the DIRECTV app, you can find out
        more about your choices concerning how your DIRECTV viewing
        information is used and shared here
        (https://www.directv.com/DTVAPP/content/support/DTVAPP_policy).

    2. Do I have choices about receiving first party advertisements from
       AT&T?

    Because first party advertising is part of the service you receive when
    you visit our websites and use our mobile applications, we don't offer an
    opt-out for first party advertising.

    3. Can I choose not to receive marketing and other types of
       communication from AT&T?
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    We realize that unwanted marketing contacts can be a hassle and we've
    worked hard to meet the expectations of customers and potential
    customers who have expressed a desire to limit certain types of
    solicitation communications from us.

    E-Mail: Every marketing e-mail we send contains instructions and a link
    that will allow you to stop additional marketing e-mails for that product or
    service type. You also can unsubscribe from AT&T marketing e-mails
    here (http://www.att.com/remove).

    Text Messages: Opt-out of AT&T marketing text message contacts by
    replying "stop" to any message.

    AT&T Consumer Telemarketing: Ask to be removed from our consumer
    telemarketing lists by contacting us at one of the numbers listed here
    (/sites/privacy_policy/rights_choices#cpnicontact). You also can ask
    the AT&T representative to remove you from our telemarketing lists when
    you receive a marketing or promotional call from us.

    AT&T Business Telemarketing: Where required by local laws and/or
    regulations, we honor requests to be removed from our telemarketing
    lists from business customers.

    Federal Do Not Call: The FTC maintains a National Do Not Call
    Registry at donotcall.gov (http://www.donotcall.gov/), and some
    states in the United States may maintain its own Do Not Call Registry.
    Putting your number on these Registries also may limit our AT&T
    telemarketing calls to that number.

    Postal Mail: To review our Residential Do Not Mail Policy Statement and
    to limit postal mail solicitations, click here
    (/sites/privacy_policy/att_consumer_marketing). You will still receive
    billing statements, legal notices, product updates and other similar
    correspondence, and you may still receive some promotional mailings.

    All of our practices are designed to satisfy state, provincial and federal
    legal requirements limiting marketing contacts. Those laws and
    regulations - such as the requirements governing the state and federal
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    "Do Not Call" lists - generally permit companies to contact their own
    current and, in some cases, former customers, even when those
    customers are listed on the federal and state "Do Not Call" lists.

    Automated Calls or Messages: In some cases, we will ask for your
    permission to send you automated calls or messages to your mobile
    phone. To opt out of these calls or messages from AT&T, please go to
    Manage Your Privacy Choices (http://www.att.com/cmpchoice). As
    required or allowed by law, even if you opt out, AT&T may continue to
    contact you with automated calls or messages at the telephone number
    issued by us for certain important informational messages about your
    service. For example, we may need to let you know about a problem with
    your wireless service.

    Restricting our use of your CPNI will not eliminate all types of our
    marketing contacts.

    4. Can I choose to exclude my Anonymous Information from your
       External Marketing & Analytics and other similar reports?

    Yes. Click here (https://www.att.com/cmpchoice) to opt-out. This opt-
    out also applies to the sharing of your Anonymous Information with other
    companies for their use in creating marketing and analytics reports.
    Although this opt out does not apply to Metrics Reports, it will apply if we
    combine Metrics Report information with other customer information (like
    demographics) to create reports that we provide to our business
    customers or service suppliers.

    5. What is DNS error assist?

    When you mistype a web address, or the address is not working, DNS
    Error Assist provides an automated list of similar pages – such as
    possibly the one you meant to type – for your consideration. The service
    is provided on your AT&T residential broadband connection, and you can
    opt-out here (http://www.att.com/cmpchoice). If you opt-out, you will
    get a standard “no results found” error message instead of the error-
    assist page.

    6. Are there any other opt-out choices I should know about?
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    We may use services provided by analytics companies to obtain
    information about website performance and how you use our mobile
    applications and other products and services. Go here
    (http://www.aboutads.info/choices/) for more information about the
    opt-outs made available by some of those vendors, and to make choices
    about participation. Based on your permission, we may share your
    mobile device location or other mobile subscriber information with third
    parties when you use Third-Party Services, such as to prevent fraud
    when making a bank transaction. If you want to change that permission,
    you can opt out directly with the third party or you can opt out by going to
    Manage Your Privacy Choices.

    7. These Choices and Controls also are available at
       http://about.att.com/sites/privacy_policy/rights_choices
       (/sites/privacy_policy/rights_choices).

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 How to Contact Us About This Policy

 We encourage you to contact us directly at either of these addresses below for
 any questions about this Privacy Policy.
      • E-mail us at privacypolicy@att.com (mailto:privacypolicy@att.com)
      • Write to us at AT&T Privacy Policy, Chief Privacy Office, 208 S. Akard,
        Room 1033, Dallas, TX 75202.

 For questions not related to privacy click on the "Contact Us" link at the bottom
 of any att.com (http://www.att.com/) page. You also can access your online
 account from the upper right hand corner of our home page at att.com for
 additional service options.

 If you have an unresolved privacy or data use concern that we have not
 addressed satisfactorily, you may contact our U.S.-based third-party
 ombudsperson program at https://www.truste.com/consumer-
 resources/dispute-resolution/dispute-resolution-faqs/
 (https://www.truste.com/consumer-resources/dispute-resolution/dispute-
 resolution-faqs/). If you are not satisfied with our resolution of any dispute,
 including with respect to privacy or data use concerns, please review our
 dispute resolution procedures at http://www.att.com/disputeresolution
 (http://www.att.com/disputeresolution).
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       You also have the option of filing a complaint with the FTC Bureau of Consumer
       Protection, using an online form (https://www.ftccomplaintassistant.gov), or
       by calling toll-free 877.FTC.HELP (877.382.4357; TTY: 866.653.4261). Other
       rights and remedies also may be available to you under federal or other
       applicable laws.

       If you are a satellite TV subscriber, you also have certain rights under Section
       338(i) of the Federal Communications Act
       (http://www.gpo.gov/fdsys/pkg/USCODE-2011-title47/pdf/USCODE-2011-
       title47-chap5-subchapIII-partI-sec338.pdf).

       If you are a DIRECTV customer in Puerto Rico, you can exercise and manage
       your choices by visiting https://www.directvpr.com/Midirectv/ingresar
       (https://www.directvpr.com/Midirectv/ingresar) or by calling 787-776-5252.

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What is CPNI?

“CPNI” is information about your phone service from us. Your phone service could be a
cell phone or any sort of home or business phone. The “information” is things like what
kind of services you have, how you use them, or billing information. (Your telephone
number, name and address are not considered CPNI.)

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How is CPNI Used and Disclosed?

We do not sell, trade or share your CPNI with anyone outside of the AT&T family of
companies* or our authorized agents, unless required by law (example: a court order).
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We do use your CPNI internally, however. We may share information about our
customers among the AT&T companies and our agents in order to offer you new or
enhanced services. For example, we might offer a discount or promotion for Internet or
TV services based on your CPNI.

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How may I limit the use of my CPNI?

AT&T uses technology and security features, and strict policy guidelines with ourselves
and our agents, to safeguard the privacy of CPNI. It is your right and our duty under
federal law to protect the confidentiality of your CPNI.

If you don’t want AT&T to use your CPNI internally for things like offers, here is what
you can do:

  You can “opt out” online, at att.com/ecpnioptout (http://att.com/ecpnioptout), or

  You can call 800.315.8303, any time of day, and follow the prompts, or

  You can speak to a service representative at 800.288.2020 (consumer) or
800.321.2000 (business).

  For languages other than English and Spanish, please visit world.att.com
(http://world.att.com).

If you choose to restrict our use of your CPNI, it won’t affect any of your services. You
can change your mind at any time about allowing (or not allowing) us to use your
CPNI, and we’ll honor your decision until you change it again. If you do restrict your
CPNI use, you may still get marketing from us, but it won’t be from using CPNI.

* The AT&T Family of Companies are those companies that provide voice, video and
broadband-related products and/or services domestically and internationally, including
the AT&T local and long distance companies, AT&T Corp., AT&T Mobility, DIRECTV,
and other subsidiaries or affiliates of AT&T Inc. that provide, design, market, or sell
these products and/or services.

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 Wireless - 1-800-331-0500

 Business - 1-800-321-2000

 Residential - 1-800-288-2020

 Spanish Language - 1-800-870-5855

 Satellite TV Services - 1-800-DIRECTV or 1-800-531-5000

 For assistance in other languages, please visit world.att.com (http://world.att.com).

 Legacy AT&T Consumer - 1-800-222-0300

 Customers of the following AT&T family of companies may contact us directly
 using the following:

 AT&T Internet Services - Customers can manage newsletter subscriptions or other e-
 mail communications from Yahoo! by modifying their AT&T Yahoo! Marketing
 Preferences.

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Privacy Policy (http://about.att.com/sites/web_policy)
Terms of Use (https://www.att.com/legal/terms.attWebsiteTermsOfUse.html)   Accessibility (https://www.att.com/accessibility)
Contact Us (https://www.att.com/contactus/)


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